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12
                                     UNITED STATES DISTRICT COURT
13
                            FOR THE CENTRAL DISTRICT OF CALIFORNIA
14
15
16    JOWHARAH HAMEED-BOLDEN ) Case No.: 2:18-cv-03019
17    and ALI CONRAD O’BRIEN, On )
      Behalf of Themselves and All )
18    Others Similarly Situated,   )  FIRST AMENDED CLASS ACTION
19                                 )  COMPLAINT FOR:
                  Plaintiffs,      )
20
                                   ) (1) California’s Unfair Competition
21    v.                           )     Law (“UCL”) § 17200 – Unlawful
22                                 )     Business Practice;
      FOREVER 21 RETAIL, INC.,     ) (2) UCL § 17200 – Unfair Business
23    and FOREVER 21, INC.         )     Practice
24                Defendants.      ) (3) Deceit by Concealment - Cal. Civil
                                   )     Code §§ 1709, 1710
25
                                   ) (4) Negligence
26                                 ) (5) Breach of Implied Contract
27                                 ) (6) Declaratory Judgment
                                   )
28                                 )

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 1                                           )   (7) Violation of California’s Customer
                                             )       Records Act – Inadequate Security-
 2                                           )       Cal. Civ. Code § 1798.81.5
 3                                           )
                                             )   DEMAND FOR JURY TRIAL
 4
                                             )
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 1            Plaintiffs Jowharah Hameed-Bolden and Ali Conrad O’Brien (“Plaintiffs”), on
 2    behalf of themselves and all others similarly situated, file this Class Action Complaint
 3    against Defendants Forever 21 Retail, Inc. and Forever 21, Inc. (collectively, “Forever
 4    21”), and based upon personal knowledge with respect to themselves and on information
 5    and belief derived from, among other things, investigation of counsel and review of public
 6    documents as to all other matters, allege as follows:
 7                                           SUMMARY OF THE CASE
 8            1.      Plaintiffs bring this class action case against Defendants for their failures to
 9    secure and safeguard customers’ payment card data (“PCD”) and other personally
10    identifiable information (“PII”) which Forever 21 collected at the time Plaintiffs made
11    purchases at Forever 21 stores, and for failing to provide timely, accurate, and adequate
12
      notice to Plaintiffs and Class members that their PCD and PII (hereinafter, collectively,
13
      “Customer Data”) had been compromised and stolen.
14
              2.      Forever 21 is a fashion retailer of women’s, men’s and kids clothing and
15
      accessories.
16
17
18
19
20
21
22
23
24            3.      In the last few years, retailers such as Target, Saks Fifth Avenue, Home
25    Depot, Kmart, Neiman Marcus, and Brooks Brothers have experienced stream of attacks
26    on their data security. Implementing measures to prevent those attacks, as well as quickly
27    identifying them is a normal, expected part of the business – except in Forever 21’s case.
28
      Inexplicably turning a blind eye to this key aspect of its business, Forever 21 did not just

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 1    ignore security weaknesses, it failed to set up the systems necessary to even detect them.
 2            4.      In November 2017, Forever 21 acknowledged that a third party had
 3    “suggested” there might have been a breach of its customers’ payment card information.1
 4    Finally on December 28, 2017, Defendants disclosed that their investigation had
 5    determined that hackers had been able to gain access to Forever 21’s data systems and
 6
      install malware to harvest Customer Data for seven months, from April 3 to November
 7
      18, 2017 (the “Data Breach”).
 8
              5.      This private Customer Data was compromised due to Forever 21’s acts and
 9
      omissions and their failure to properly protect the Customer Data.
10
              6.      Forever 21’s sheer recklessness with respect to data security led to
11
      predictable results. While the company implemented encryption technology in 2015, the
12
      investigation into the Data Breach uncovered that encryption had not been turned on in
13
14    some of Forever 21’s point of sale (“POS”) devices.

15            7.      Defendants have admitted that the encryption being turned off allowed the

16    malware to be installed.
17            8.      Adding insult to injury, “Forever 21 stores have a device that keeps a log of
18    completed payment card transaction authorizations. When encryption was off, payment
19    card data was being stored in this log. In a group of stores that were involved in this
20    incident, malware was installed on the log devices that was capable of finding payment
21    card data from the logs, so if encryption was off on a POS device prior to April 3, 2017
22    and that data was still present in the log filed at one of these stores, the malware could
23    have found that data.”
24            9.      In other words, customers who used their payment cards prior to April 3,
25
26
27    1
       https://www.csoonline.com/article/3245069/security/forever-21-hackers-breached-
28    payment-system-for-7-months-no-encryption-on-pos-devices.html (last visited March 4,
      2018).
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 1    2017 also possibly had their payment card information compromised.
 2            10.     Forever 21 could have prevented this Data Breach. Data breaches at other
 3    retail establishments in the last few years have been the result of malware installed on
 4    POS systems. While many retailers have responded to recent breaches by adopting
 5    technology that helps make transactions more secure, Forever 21 did not.
 6
              11.     In addition to Forever 21’s failure to prevent the Data Breach, Forever 21
 7
      failed to detect breach while it was ongoing for seven months, and failed to detect the
 8
      breach itself, only learning of it from a third party.
 9
              12.     The Data Breach was the inevitable result of Forever 21’s inadequate
10
      approach to data security and the protection of the Customer Data that it collected during
11
      the course of its business. The deficiencies in Forever 21’s data security were so
12
      significant that the malware installed by the hackers remained undetected and intact for
13
14    months.

15            13.     The susceptibility of POS systems to malware is well-known throughout the

16    retail industry. In the last five years, practically every major data breach involving retail
17    stores or fast-food restaurant chains has been the result of malware placed on POS
18    systems. Accordingly, data security experts have warned companies, “[y]our POS
19    system is being targeted by hackers.          This is a fact of 21st-century business.”2
20    Unfortunately, Forever 21’s decisions to ignore these warnings led to the damage upon
21    which this case is based.
22            14.     Forever 21 has recognized that it “understand[s] the importance that [its]
23    customers place on privacy.”3
24
25
      2
        Datacap Systems Inc., Point of sale security: Retail data breaches at a glance,
26
      https://www.datacapsystems.com/blog/point-of-sale-security-retail-data-breaches-at-a-
27    glance# (last visited March 14, 2018).
      3
28      Forever 21 Privacy Policy, available at
      https://www.forever21.com/us/shop/Info/PrivacyPolicy (last visited March 14, 2018).
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 1            15.     Through their Privacy Policy, Forever 21 also represents that it will “take
 2    commercially reasonable steps to help protect Personal Information from loss, misuse,
 3    unauthorized access” and will “encrypt the transmission of that information.”
 4            16.     Unfortunately, Forever 21 did not hold true to these promises.
 5            17.     Forever 21 disregarded the rights of Plaintiffs and Class members by
 6
      intentionally, willfully, recklessly, or negligently failing to take adequate and reasonable
 7
      measures to ensure its data systems were protected, failing to disclose to its customers
 8
      the material fact that it did not have adequate computer systems and security practices to
 9
      safeguard Customer Data, failing to take available steps to prevent and stop the breach
10
      from ever happening, and failing to monitor and detect the breach on a timely basis.
11
              18.     In addition, Forever 21 exacerbated the injuries suffered by Plaintiff and the
12
      Class by failing to timely detect the infiltration and by failing to timely notify customers
13
14    their information had been compromised. If Forever 21 had detected the malware earlier

15    and promptly notified the public of the Data Breach, the resulting losses would have been

16    less significant.
17            19.     As a result of the Forever 21 Data Breach, the Customer Data of the Plaintiff
18    and Class members has been exposed to criminals for misuse. The injuries suffered by
19    Plaintiff and Class members as a direct result of the Forever 21 Data Breach include:
20                    a. unauthorized charges on their debit and credit card accounts;
21                    b. theft of their personal and financial information;
22                    c. costs associated with the detection and prevention of identity theft and
23                        unauthorized use of their financial accounts;
24                    d. damages arising from the inability to use their debit or credit card
25                        accounts because their account were suspended or otherwise rendered
26
                          unusable as a result of fraudulent charges stemming from the Forever 21
27
                          Data Breach, including but not limited to foregoing cash back rewards;
28

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 1                    e. loss of use of and access to their account funds and costs associated with
 2                        inability to obtain money from their accounts or being limited in the
 3                        amount of money they were permitted to obtain from their accounts,
 4                        including missed payments on bills and loans, late charges and fees, and
 5                        adverse effects on their credit including decreased credit scores and
 6
                          adverse credit notations;
 7
                      f. costs associated with time spent and the loss of productivity or the
 8
                          enjoyment of one’s life from taking time to address and attempt to
 9
                          ameliorate, mitigate and deal with the actual and future consequences of
10
                          the Data Breach, including finding fraudulent charges, cancelling and
11
                          reissuing cards, purchasing credit monitoring and identity theft
12
                          protection services, imposition of withdrawal and purchase limits on
13
14                        compromised accounts, and the stress, nuisance and annoyance of

15                        dealing with all issues resulting from the Forever 21 Data Breach;

16                    g. the imminent and certainly impending injury flowing from potential
17                        fraud and identify theft posed by their credit card and personal
18                        information being placed in the hands of criminals and already misused
19                        via the sale of Plaintiffs’ and Class members’ information on the Internet
20                        black market;
21                    h. money paid for merchandise purchased at Forever 21 stores during the
22                        period of the Data Breach, in that Plaintiffs and Class members would
23                        not have shopped at Forever 21 had Defendants disclosed that they
24                        lacked adequate systems and procedures to reasonably safeguard
25                        customers’ Customer Data or Plaintiffs and Class members would have
26
                          taken measures to protect their Customer Data had Defendants made such
27
                          disclosures;
28

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 1                   i. damages to and diminution in value of their Customer Data entrusted to
 2                       Forever 21 for the sole purpose of purchasing merchandise from Forever
 3                       21; and
 4                   j. the loss of Plaintiff and Class members’ privacy.
 5           20.     The injuries to Plaintiffs and Class members were directly and proximately
 6
     caused by Forever 21’s failure to implement or maintain adequate data security measures
 7
     for Customer Data.
 8
             21.     Further, Plaintiffs retain a significant interest in ensuring that their
 9
     Customer Data, which, while stolen, remains in the possession of Defendants is protected
10
     from further breaches, and seeks to remedy the harms they have suffered on behalf of
11
     themselves and similarly situated consumers whose Customer Data was stolen as a result
12
     of the Forever 21 Data Breach.
13
14           22.     Plaintiffs, on behalf of themselves and similarly situated consumers, seek to

15   recover damages, equitable relief including injunctive relief to prevent a reoccurrence of

16   the data breach and resulting injury, restitution, disgorgement, reasonable costs and
17   attorneys’ fees, and all other remedies this Court deems proper.
18                                     JURISDICTION AND VENUE
19           23.     This Court has subject matter jurisdiction over this action pursuant to the
20   Class Action Fairness Act (“CAFA”), 28 U.S.C. § 1332(d), because the aggregate amount
21   in controversy exceeds $5,000,000, exclusive of interests and costs, there are more than
22   100 class members, and at least one class member is a citizen of a state different from
23   Defendants.
24           24.     This Court has personal jurisdiction over Defendants because Defendant
25   Forever 21 Retail, Inc. is incorporated in California and both Defendants have their
26
     headquarters in this District. This Court has personal jurisdiction over Defendants
27
28

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 1   because Defendants conduct substantial business in the District and because Defendants
 2   committed the acts and omissions complained of in the District.
 3           25.     Venue is proper under 28 U.S.C. § 1391(c) because Defendants’ principal
 4   place of business is in this District. Venue is also proper because a substantial part of the
 5   events or omissions giving rise to the claims in this action occurred in or emanated from
 6
     this District, including the decisions made by Forever 21’s management and IT personnel
 7
     that led to the Data Breach.
 8
                                                 PARTIES
 9
     A.      Plaintiffs
10
             26.      Plaintiff Jowharah Hameed-Bolden is, and for all relevant times has been,
11
     a resident and citizen of Sacramento, California.
12
             27.     Plaintiff Ali Conrad O’Brien is, and for all relevant times has been, a resident
13
14   and citizen of Nassau County, New York.

15   B.      Defendants

16           28.     Forever 21 Retail, Inc. is a California corporation with its principal place of
17   business and headquarters located at 3880 N. Mission Road, Room 3030, Los Angeles,
18   California 90031.
19           29.     Forever 21, Inc. is a Delaware corporation registered with the California
20   Secretary of State, with its principal place of business and headquarters located at 3880
21   N. Mission Road, Room 3030, Los Angeles, California 90031.
22                                          FACTUAL BACKGROUND
23   A.      Plaintiffs’ Transactions
24           30.     Plaintiff Jowharah Hameed-Bolden made multiple in-store purchases at
25   Forever 21 stores for her children’s back-to-school shopping in July and August of 2017.
26
     For these purchases, she used her credit union debit card, which she uses only for specific
27
     purposes because she has been focusing on building a good credit record. In September
28

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 1   2017, she noticed fraudulent charges on her credit union account. The fraudulent activity
 2   caused her account to go into overdraft. As a result, she incurred hundreds of dollars in
 3   late fees on other accounts because the fraudulent debits left her without enough money
 4   in her account to pay her bills. Additionally, she incurred overdraft fees on her account
 5   for the automatic bill-pay attempts made when her account was overdrawn. While her
 6
     credit union ultimately reimbursed the fraudulent charges, after 6 weeks, the credit union
 7
     has refused to reverse the overdraft fees she incurred. Due to fraudulent activity on the
 8
     card, Ms. Hameed-Bolden’s credit union issued her a new debit card.
 9
             31.     Plaintiff Ali Conrad O’Brien made multiple in-store purchases at Forever 21
10
     stores in Nassau and Suffolk counties in New York between April 2017 and October 2017
11
     using her CitiBank Mastercard debit card. She also has an online account with Forever
12
     21 in which her CitiBank Mastercard debit card information is stored. In December 2017,
13
14   Ms. Conrad O’Brien received an email from Forever 21 thanking her for a recent

15   purchase, which she did not make. Upon investigation, she discovered that someone has

16   used her CitiBank Mastercard debit card to charge $200, for $80 in merchandise and a
17   $120 gift card. Ms. O’Brien spent considerable time working with CitiBank to have the
18   charges reversed.
19           32.     The compromise of Plaintiffs’ payment cards occurred even though they had
20   physical possession of their cards at all times. Plaintiffs were required to expend time
21   communicating with the card issuer attempting to resolve the issues caused by the theft
22   of their identities. During the period of time they were awaiting a replacement card,
23   Plaintiffs had to use alternative sources of funds to make purchases.
24           33.     Plaintiffs suffered actual injury from having their Customer Data
25   compromised and stolen in and as a result of the Forever 21 Data Breach.
26
             34.     Plaintiffs would not have used their payment cards to make purchases at
27
     Forever 21 had Defendants told them that Forever 21 lacked adequate computer systems
28

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 1   and data security practices to safeguard customers’ Customer Data from theft. Indeed,
 2   Plaintiffs would not have shopped at Forever 21 at all during the period of the Data
 3   Breach and, thus, they suffered actual injury and damages in paying money to for the
 4   purchase of merchandise from Forever 21 that they would not have paid had Forever 21
 5   made such disclosure.
 6
             35.     Plaintiffs also suffered actual injury in the form of damages to and
 7
     diminution in the value of their Customer Data— a form of intangible property that
 8
     Plaintiffs entrusted to Forever 21 as a form of payment for merchandise and that was
 9
     compromised in and as a result of the Data Breach.
10
             36.     Additionally, Plaintiffs have suffered imminent and impending injury
11
     arising from the substantially increased risk of future fraud, identity theft and misuse
12
     posed by their Customer Data being placed in the hands of criminals who have already
13
14   misused such information, as evidenced by the compromise of Plaintiffs’ payment cards.

15           37.     Moreover, Plaintiffs have a continuing interest in ensuring that their private

16   information, which remains in the possession of Forever 21, is protected and safeguarded
17   from future breaches.
18   B.      Forever 21 Collects and Stores PII for its Own Financial Gain
19           38.     Founded in 1984, Forever 21 operates more than 800 stores in 57 countries,
20   including the United States.
21           39.     In 2017, Forever 21 earned more than $4 billion in sales.
22           40.     With its growing profitability, Forever 21 heavily invested in opening 40
23   new retail locations in the U.S. in 2017.4
24           41.     Despite Forever 21’s substantial investments made to expand its retail
25   presence, Forever 21 failed to make meaningful improvements to the security of its POS
26
27
     4
28     https://www.bloomberg.com/research/stocks/private/snapshot.asp?privcapid=4220077
     (last visited March 24, 2018).
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 1   systems and administrative network, placing the purchasing information of its customers
 2   at risk.
 3           42.     A significant portion of sales at Forever 21 brick-and-mortar stores, as well
 4   as their online store, are made using credit or debit cards. When customers pay using
 5   credit or debit cards, Forever 21 collects Customer Data related to those cards including
 6
     the cardholder name, the account number, expiration date, card verification value (CVV),
 7
     and PIN data for debit cards. Forever 21 stores the Customer Data in its POS system and
 8
     transmits this information to a third party for processing and completion of the payment.
 9
             43.     A significant portion of sales at Forever 21 are made using credit or debit
10
     cards. When customers pay using credit or debit cards, Forever 21 collects Customer
11
     Data related to those cards including the cardholder name, the account number, expiration
12
     date, card verification value (“CVV”), and PIN data for debit cards. Forever 21 stores the
13
14   Customer Data in its POS system and transmits this information to a third party for

15   processing and completion of the payment.

16           44.     At all relevant times, Forever 21 was well-aware, or reasonably should have
17   been aware, that the Customer Data collected, maintained and stored in the POS systems
18   is highly sensitive, susceptible to attack, and could be used for wrongful purposes by third
19   parties, such as identity theft and fraud.
20           45.     It is well known and the subject of many media reports that Customer Data
21   is highly coveted and a frequent target of hackers. Despite the frequent public
22   announcements of data breaches by other retailers, Forever 21 maintained an insufficient
23   and inadequate system to protect the Customer Data of Plaintiffs and Class members.
24           46.     Customer Data is a valuable commodity because it contains not only
25   payment card numbers but PII as well. A “cyber blackmarket” exists in which criminals
26
     openly post stolen payment card numbers, and other personal information on a number
27
     of underground Internet websites. Customer Data is “as good as gold” to identity thieves
28

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 1   because they can use victims’ personal data to open new financial accounts and take out
 2   loans in another person’s name, incur charges on existing accounts, or clone ATM, debit,
 3   or credit cards.
 4           47.     Legitimate organizations and the criminal underground alike recognize the
 5   value in PII contained in a merchant’s data systems; otherwise, they would not
 6
     aggressively seek or pay for it. For example, in “one of 2013’s largest breaches . . . not
 7
     only did hackers compromise the [card holder data] of three million customers, they also
 8
     took registration data [containing PII] from 38 million users.”5
 9
             48.     At all relevant times, Forever 21 knew, or reasonably should have known,
10
     of the importance of safeguarding Customer Data and of the foreseeable consequences
11
     that would occur if its data security system was breached, including, specifically, the
12
     significant costs that would be imposed on its customers as a result of a breach.
13
14           49.     Forever 21 was, or should have been, fully aware of the significant volume

15   of daily credit and debit card transactions at Forever 21 retail locations, and thus, the

16   significant number of individuals who would be harmed by a breach of Forever 21’s
17   systems.
18           50.     Unfortunately, and as alleged below, despite all of this publicly available
19   knowledge of the continued compromises of Customer Data in the hands of other third
20   parties, such as retailers, Forever 21’s approach to maintaining the privacy and security
21   of the Customer Data of Plaintiffs and Class members was lackadaisical, cavalier,
22   reckless, or at the very least, negligent.
23
24
25
26   5
      Verizon 2014 PCI Compliance Report, available at:
27   http://www.cisco.com/c/dam/en_us/solutions/industries/docs/retail/verizon_pci2014.pdf
28   (hereafter “2014 Verizon Report”), at 54 (last visited April 10, 2017).

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 1   C.      Forever 21 Had Notice of Data Breaches Involving Malware on POS Systems
 2           51.     A wave of data breaches causing the theft of retail payment card information
 3   has hit the United States in the last several years.6 In 2016, the number of U.S. data
 4   breaches surpassed 1,000, a record high and a forty percent increase in the number of data
 5   breaches from the previous year.7 The amount of payment card data compromised by data
 6
     breaches is massive. For example, it is estimated that over 100 million cards were
 7
     compromised in 2013 and 2014.8
 8
             52.     Most of the massive data breaches occurring within the last several years
 9
     involved malware placed on POS systems used by retail merchants. A POS system is an
10
     on-site device, much like an electronic cash register, which manages transactions from
11
     consumer purchases, both by cash and card. When a payment card is used at a POS
12
     terminal, “data contained in the card’s magnetic stripe is read and then passed through a
13
14   variety of systems and networks before reaching the retailer’s payment processor.” 9 The

15   payment processor then passes on the payment information to the financial institution that

16   issued the card and takes the other steps needed to complete the transaction.10
17
18
     6
19     Data Breaches Increase 40 Percent in 2016, Finds New Report From Identity Theft
     Resource Center and CyberScout, Identity Theft Resource Center (Jan. 19, 2017),
20   http://www.prnewswire.com/news-releases/data-breaches-increase-40-percent-in-2016-
21   finds-new-report-from-identity-theft-resource-center-and-cyberscout-300393208 (last
     visited July 17, 2017).
22   7
       Id.
     8
23     Symantec, A Special Report On Attacks On Point-of-Sale Systems, p. 3 (Nov. 20, 2014),
     available at: https://origin-www.symantec.com/content/dam/symantec/docs/white-
24
     papers/attacks-on-point-of-sale-systems-en.pdf (last visited July 17, 2017).
25   9
       Id. at 6.
     10
26      Salva Gomzin, Hacking Point of Sale: Payment Application Secrets, Threats, and
     Solutions, 8 (Wiley 2014), available at: http://1.droppdf.com/files/IS0md/wiley-
27   hacking-point-of-sale-payment-application-secrets-threats-and-solutions-2014.pdf (last
28   visited July 18, 2017).

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 1           53.     Before transmitting customer data over the merchant’s network, POS
 2   systems typically, and very briefly, store the data in plain text within the system’s
 3   memory.11 The stored information includes “Track 1” and “Track 2” data from the
 4   magnetic strip on the payment card, such as the cardholder’s first and last name, the
 5   expiration date of the card, and the CVV (three number security code on the card).12 This
 6
     information is unencrypted on the card and, at least briefly, will be unencrypted in the
 7
     POS terminal’s temporary memory as it processes the data. 13
 8
             54.     In ordered to directly access a POS device, hackers generally follow four
 9
     steps: infiltration, propagation, exfiltration and aggregation.14 In the infiltration phase, an
10
     “attacker gains access to the target environment”15 allowing the hackers to move through
11
     a business’s computer network, find an entry point into the area that handles consumer
12
     payments, and directly access the physical POS machines at in-store locations.16 Once
13
14   inside the system the attacker then infects the POS systems with malware, which “collects

15   the desired information . . . and then exfiltrates the data to another system” called the

16   “aggregation point.”17
17           55.     A 2016 report by Verizon confirmed “[t]he vast majority of successful
18   breaches leverage legitimate credentials to gain access to the POS environment. Once
19   attackers gain access to the POS devices, they install malware, usually a RAM scraper, to
20
21
22   11
        Id. at 39.
     12
23      Id. at 43-50.
     13
        Symantec, supra note 8, at 5.
24   14
        Point of Sale Systems and Security: Executive Summary, SANS Institute, 4 (Oct.
25   2014), available at: https://www.sans.org/reading-room/whitepapers/analyst/point-
26   salesystems-security-executive-summary-35622 (last visited July 18, 2017).
     15
        Id.
27   16
        Symantec, supra note 8, at 6.
     17
28      Id.

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 1   capture payment card data.”18 According to Verizon, hackers successfully compromise
 2   POS systems in a matter of minutes or hours and exfiltrate data within days of placing
 3   malware on the POS devices.19
 4           56.     Intruders with access to unencrypted Track 1 and Track 2 payment card data
 5   can physically replicate the card or use it online. Unsurprisingly, theft of payment card
 6
     information via POS systems is now “one of the biggest sources of stolen payment
 7
     cards.”20 Since 2014, malware installed on POS systems has been responsible for nearly
 8
     every major data breach of a retail outlet or restaurant.21 In 2015, intrusions into POS
 9
     systems accounted for 64% of all breaches where intruders successfully stole data. 22 For
10
     example, in 2013, hackers infiltrated Target, Inc.’s POS system, stealing information from
11
     an estimated 40 million payment cards in the United States.23 In 2014, over 7,500 self-
12
     checkout POS terminals at Home Depots throughout the United States were hacked,
13
14   compromising roughly 56 million debit and credit cards.24

15           57.     Given the numerous reports indicating the susceptibility of POS systems and

16   consequences of a breach, Forever 21 was well aware or should have been aware of the
17   need to safeguard its POS systems.
18
     18
19      Id.
     19
        2016 Data Breach Investigations Report, Verizon, at 4 (Apr. 2016),
20   http://www.verizonenterprise.com/resources/reports/rp_2016-DBIR-Retail-
21   DataSecurity_en_xg.pdf. (last visited July 18, 2017).
     20
        Symantec, supra note 8, at 3.
22   21
        Verizon, supra note 19, at 1.
     22
23      Id. at 3.
     23
        Brian Krebs, Fast Food Chain Arby’s Acknowledges Breach, KrebsOnSecurity (Feb.
24
     17, 2017), https://krebsonsecurity.com/2017/02/fast-food-chain-arbysacknowledges-
25   breach/ (last visited July 18, 2017).
     24
26      Brett Hawkins, Case Study: The Home Depot Data Breach, 7 (SANS Institute, Jan.
     2015), available at: https://www.sans.org/reading-
27   room/whitepapers/casestudies/casestudy-home-depot-data-breach-36367 (last visited July
28   18, 2017).

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 1   D.      The 2017 Forever 21 Data Breach
 2           58.     Finally, on December 28, 2017, Defendant disclosed that its investigation had
 3   determined that hackers had been able to gain access to Forever 21’s data systems and
 4   install malware to harvest Customer Data. The malware allowed the thieves to download
 5   and steal copies of Customer Data for seven months, from April 3 to November 18, 2017
 6
     (the “Data Breach”).
 7
             59.     Forever 21 implemented the use of encryption technology in 2015.
 8
     Encryption is usually used by the store to protect its payment processing system. However,
 9
     the investigation into the Data Breach determined that the encryption on some POS
10
     devices “was not always on,” opening up the POS terminals to malware.25
11
             60.     Causing additional trouble for consumers, “Forever 21 stores have a device
12
     that keeps a log of completed payment card transaction authorizations. When encryption
13
14   was off, payment card data was being stored in this log. In a group of stores that were

15   involved in this incident, malware was installed on the log devices that was capable of

16   finding payment card data from the logs, so if encryption was off on a POS device prior
17   to April 3, 2017 and that data was still present in the log filed at one of these stores, the
18   malware could have found that data.” Meaning, customers who used their payment cards
19   prior to April 3, 2017 also possibly had their payment card information compromised.
20           61.     Forever 21 has stated that payment card transactions through its online store
21   were not impacted by the Data Breach.
22           62.     Forever 21 has not disclosed how many customers had their Customer Data
23   compromised and stolen.
24           63.     The Data Breach resulted from Forever 21’s acts and omissions and failure
25
26
27   25
       https://www.csoonline.com/article/3245069/security/forever-21-hackers-breached-
28   payment-system-for-7-months-no-encryption-on-pos-devices.html (last visited March 24,
     2018).
                                                    -15-
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 1   to properly protect the Customer Data, despite being aware of recent data breaches
 2   impacting other national retailers.
 3           64.     The Data Breach occurred because Forever 21 failed to implement adequate
 4   data security measures to protect its POS networks from the potential danger of a data
 5   breach and failed to implement and maintain reasonable security procedures and practices
 6
     appropriate to the nature and scope of the Customer Data compromised in the Data
 7
     Breach.
 8
             65.     While many merchants have responded to recent breaches by adopting
 9
     technology and security practices that help make transactions and stored data more
10
     secure, Forever 21 has not done so.
11
             66.     The Data Breach was caused and enabled by Forever 21’s knowing violation
12
     of their obligations to abide by best practices and industry standards in protecting
13
14   Customer Data.

15           67.     In addition to Forever 21’s failure to prevent the Data Breach, Forever 21

16   also failed to detect the breach for seven months.
17           68.     Intruders, therefore, had months to collect Customer Data unabated. During
18   this time, Forever 21 failed to recognize its systems had been breached and that intruders
19   were stealing data on millions of payment cards. Timely action by Forever 21 likely
20   would have significantly reduced the consequences of the breach. Instead, Forever 21
21   took more than half a year to realize its systems had been breached, and thus contributed
22   to the scale of the Breach and the resulting damages.
23   E.      Forever 21 Turns a Blind Eye to Security, Even After Repeated Intrusions
24           69.     In 2008, Forever 21 announced that hackers had accessed payment data on
25   nine different dates between November 2003 and August 2007. 26 Defendant came to learn
26
     of this breach only when the U.S. Secret Service gave the company a disk containing almost
27
28   26
          Csoonline, supra note 25.
                                                   -16-
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 1   100,000 compromised payment card numbers of Forever 21 customers.
 2            70.    In response to learning about that breach, five years after it began, Forever
 3   21 sent notification letters to affected customers. Id.    Forever 21 also stated that it had
 4   implemented additional security measures but was evasive about what those were. Id.
 5            71.    In 2015, Forever 21 apparently implemented encryption technology on its
 6
     POS systems. But for some reason, the encryption technology was “not always on” in its
 7
     stores.
 8
              72.    Forever 21 has stated that it is working to ensure banks that issue the
 9
     payment cards compromised in the breach are made aware of the incident, but to date,
10
     Forever 21 has not sent notification letters to affected customers as it did in 2008.
11
     F.       Forever 21 Failed to Comply with Industry Standards
12
              73.    Despite the vulnerabilities of POS systems, available security measures and
13
14   reasonable businesses practices would have significantly reduced or eliminated the

15   likelihood that hackers could successfully infiltrate business’ POS systems. One report

16   indicated that over 90% of the data breaches occurring in 2014 were preventable.27
17            74.    The payment card networks (MasterCard, Visa, Discover, and American
18   Express), data security organizations, state governments, and federal agencies have all
19   implemented various standards and guidance on security measures designed to prevent
20   these types of intrusions into POS systems. However, despite Forever 21’s understanding
21   of the risk of data theft via malware installed on POS systems, the widely available
22   resources to prevent intrusion into POS data systems, and the multiple breaches of the
23   POS systems at other retailers, Forever 21failed to adhere to these guidelines and failed
24   to take reasonable and sufficient protective measures to prevent the Data Breach.
25            75.    Security experts have recommended specific steps that retailers should take
26
     to protect their POS systems. For example, more than two years ago, Symantec
27
28   27
          Verizon, supra note 5, at 1.
                                                    -17-
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 1   recommended “point to point encryption” implemented through secure card readers,
 2   which encrypts credit card information in the POS system, preventing malware that
 3   extracts card information through the POS memory while it processes the transaction.28
 4   Moreover, Symantec emphasized the importance of adopting EMV chip technology.
 5   Likewise, Datacap Systems, a developer of POS systems, recommended similar
 6
     preventative measures.29
 7
             76.     The major payment card industry brands set forth specific security measures
 8
     in their Card (or sometimes, Merchant) Operating Regulations. Card Operating
 9
     Regulations are binding on merchants and require merchants to: (1) protect cardholder
10
     data and prevent its unauthorized disclosure; (2) store data, even in encrypted form, no
11
     longer than necessary to process the transaction; and (3) comply with all industry
12
     standards.
13
14           77.     The Payment Card Industry Data Security Standard (“PCI DSS”) is a set of

15   requirements designed to ensure that companies maintain consumer credit and debit card

16   information in a secure environment.30
17           78.     The PCI DSS “was developed to encourage and enhance cardholder data
18   security” by providing “a baseline of technical and operational requirements designed to
19   protect account data.”31 PCI DSS sets the minimum level of what must be done, not the
20   maximum.
21           79.     PCI DSS 3.2, the version of the standards in effect at the time of the Data
22   Breach, impose the following mandates on Forever 21: 32
23
24   28
        Symantec, supra note 8, at 6.
     29
25      See Datacap Systems, supra note 2.
     30
        Payment Card Industry Data Security Standard v3.2, at 5 (April 2016) available at
26
     https://www.pcisecuritystandards.org/document_library?category=pcidss&document=pci
27   _dss (last visited March 24, 2018).
     31
28      Id.
     32
        Id.
                                                   -18-
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10
              80.    Among other things, PCI DSS required Forever 21 to properly secure and
11
     protect payment card data; not store cardholder data beyond the time necessary to
12
     authorize a transaction; maintain up-to-date antivirus software and a proper firewall;
13
     protect systems against malware; regularly test security systems; establish a process to
14
     identify and timely fix security vulnerabilities; and encrypt payment card data at the point
15
     of sale.
16
              81.    PCI DSS also required Forever 21to not store “the full contents of…the
17
18   magnetic stripe located on the back of a card” or “the card verification code or value”

19   after authorization.33
20            82.    Despite Forever 21’s awareness of its data security obligations, Forever 21’s
21   treatment of PCD and PII entrusted to it by its customers fell far short of satisfying
22   Forever 21’s legal duties and obligations and included violations of the PCI DSS. Forever
23   21 failed to ensure that access to its data systems was reasonably safeguarded, failed to
24   acknowledge and act upon industry warnings and failed to use proper security systems to
25   detect and deter the type of attack that occurred and is at issue here.
26
27
28   33
          Id. at 38 (PCI DSS 3.2.1 and 3.2.2).
                                                    -19-
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 1   G.      Forever 21 Failed to Upgrade its Payment Systems to Use More Secure
             Technology
 2
             83.     The payment card industry also sets rules requiring all businesses to upgrade
 3
     to new card readers that accept EMV chips. Data Security advisors, like Symantec and
 4
     DataCap Systems, have also strongly encouraged the use of POS terminals capable of
 5
     accepting payment from EMV chips.
 6
             84.     EMV chip technology uses embedded computer chips instead of magnetic
 7
 8   stripes to store PCD. The magnetic stripe on the back of a debit or credit card contains a

 9   code that is recovered by sliding the card through a magnetic stripe reader. The code
10   never changes. Unlike magnetic stripe technology, in which the card information never
11   changes, EMV technology creates a unique transaction code every time the chip is used.
12   Such technology increases payment card security because the unique transaction code
13   cannot be used again, making it more difficult for criminals to use stolen EMV chip card
14   information.
15           85.     The payment card industry, including Visa, MasterCard, and American
16   Express, set a deadline of October 1, 2015 for businesses to transition their POS systems
17   from magnetic stripe readers to readers using EMV chip technology.
18           86.     Upon information and belief, Forever 21 has not implemented EMV
19
     technology at its retail stores.
20
     H.      Forever 21 Failed to Comply With FTC Requirements
21
             87.     Federal and State governments have likewise established security standards
22
     and issued recommendations to temper data breaches and the resulting harm to consumers
23
     and financial institutions. The Federal Trade Commission (“FTC”) has issued numerous
24
     guides for business highlighting the importance of reasonable data security practices.
25
26
27
28

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 1   According to the FTC, the need for data security should be factored into all business
 2   decision-making.34
 3           88.     In 2016, the FTC updated its publication, Protecting Personal Information:
 4   A Guide for Business, which established guidelines for fundamental data security
 5   principles and practices for business.35 The guidelines note businesses should protect the
 6
     personal customer information that they keep; properly dispose of personal information
 7
     that is no longer needed; encrypt information stored on computer networks; understand
 8
     their network’s vulnerabilities; and implement policies to correct security problems. The
 9
     guidelines also recommend that businesses use an intrusion detection system to expose a
10
     breach as soon as it occurs; monitor all incoming traffic for activity indicating someone
11
     is attempting to hack the system; watch for large amounts of data being transmitted from
12
     the system; and have a response plan ready in the event of a breach.
13
14           89.     The FTC recommends that companies not maintain cardholder information

15   longer than is needed for authorization of a transaction; limit access to sensitive data;

16   require complex passwords to be used on networks; use industry-tested methods for
17   security; monitor for suspicious activity on the network; and verify that third-party
18   service providers have implemented reasonable security measures.36
19           90.     The FTC has brought enforcement actions against businesses for failing to
20   adequately and reasonably protect customer data, treating the failure to employ
21   reasonable and appropriate measures to protect against unauthorized access to
22   confidential consumer data as an unfair act or practice prohibited by Section 5 of the
23
24   34
        Federal Trade Commission, Start With Security, available at
25   https://www.ftc.gov/system/files/documents/plain-language/pdf0205-
     startwithsecurity.pdf (last visited April 10, 2017).
26   35
        Federal Trade Commission, Protecting Personal Information: A Guide for Business,
27   available at https://www.ftc.gov/system/files/documents/plain-language/pdf-
28   0136_proteting-personal-information.pdf (last visited April 10, 2017).
     36
        FTC, Start With Security, supra note 34.
                                                   -21-
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 1   Federal Trade Commission Act (“FTCA”), 15 U.S.C. § 45. Orders resulting from these
 2   actions further clarify the measures businesses must take to meet their data security
 3   obligations.
 4           91.     Forever 21’s failure to employ reasonable and appropriate measures to
 5   protect against unauthorized access to confidential consumer data constitutes an unfair
 6
     act or practice prohibited by Section 5 of the FTC Act, 15 U.S.C. § 45.
 7
             92.     In this case, Forever 21was at all times fully aware of its obligation to protect
 8
     the financial data of Forever 21’s customers because of its participation in payment card
 9
     processing networks. Forever 21 was also aware of the significant repercussions if it
10
     failed to do so because Forever 21 collected payment card data from tens of thousands of
11
     customers daily and they knew that this data, if hacked, would result in injury to
12
     consumers, including Plaintiffs and Class members.
13
14           93.     Despite understanding the consequences of inadequate data security,

15   Forever 21 failed to comply with PCI DSS requirements and failed to take additional

16   protective measures beyond those required by PCI DSS.
17           94.     Despite understanding the consequences of inadequate data security,
18   Forever 21 operated POS systems with outdated operating systems and software; failed
19   to enable point-to-point and end-to-end encryption; and, failed to take other measures
20   necessary to protect its data network.
21   I.      The Data Breach Caused Harm and Will Result in Additional Fraud
22           95.     Without detailed disclosure of the nature and scope of the Data Breach,
23   consumers, including Plaintiffs and Class members, have been left exposed, unknowingly
24   and unwittingly, for months to continued misuse and ongoing risk of misuse of their
25   personal information without being able to take necessary precautions to prevent
26
     imminent harm.
27
28

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 1           96.     The ramifications of Forever 21’s failure to keep Plaintiffs’ and Class
 2   members’ data secure are severe.
 3           97.     The FTC defines identity theft as “a fraud committed or attempted using the
 4   identifying information of another person without authority.”37 The FTC describes
 5   “identifying information” as “any name or number that may be used, alone or in
 6
     conjunction with any other information, to identify a specific person.”38
 7
             98.     Personal identifying information is a valuable commodity to identity thieves
 8
     once the information has been compromised. As the FTC recognizes, once identity
 9
     thieves have personal information, “they can drain your bank account, run up your credit
10
     cards, open new utility accounts, or get medical treatment on your health insurance.”39
11
             99.     Identity thieves can use personal information, such as that of Plaintiffs and
12
     Class members which Forever 21 failed to keep secure, to perpetrate a variety of crimes
13
14   that harm victims. For instance, identity thieves may commit various types of government

15   fraud such as: immigration fraud; obtaining a driver’s license or identification card in the

16   victim’s name but with another’s picture; using the victim’s information to obtain
17   government benefits; or filing a fraudulent tax return using the victim’s information to
18   obtain a fraudulent refund.
19           100. Javelin Strategy and Research reports that identity thieves have stolen $112
20   billion in the past six years.40
21
22
23
     37
        17 C.F.R § 248.201 (2013).
24   38
        Id.
25   39
        Federal Trade Commission, Warning Signs of Identity Theft, available at:
26   https://www.consumer.ftc.gov/articles/0271-warning-signs-identity-theft (last visited
     April 10, 2017).
27   40
        See https://www.javelinstrategy.com/coverage-area/2016-identity-fraud-fraud-hits-
28   inflection-point (last visited April 10, 2017).

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 1           101. Reimbursing a consumer for a financial loss due to fraud does not make that
 2   individual whole again. On the contrary, identity theft victims must spend numerous
 3   hours and their own money repairing the impact to their credit. After conducting a study,
 4   the Department of Justice’s Bureau of Justice Statistics (“BJS”) found that identity theft
 5   victims “reported spending an average of about 7 hours clearing up the issues” and
 6
     resolving the consequences of fraud in 2014.41
 7
             102. There may be a time lag between when harm occurs versus when it is
 8
     discovered, and also between when PII or PCD is stolen and when it is used. According
 9
     to the U.S. Government Accountability Office (“GAO”), which conducted a study
10
     regarding data breaches:
11
                     [L]aw enforcement officials told us that in some cases, stolen
12
                     data may be held for up to a year or more before being used to
13
14                   commit identity theft. Further, once stolen data have been sold

15                   or posted on the Web, fraudulent use of that information may

16                   continue for years. As a result, studies that attempt to measure
17                   the harm resulting from data breaches cannot necessarily rule out
18                   all future harm.42
19           103. Plaintiffs and Class members now face years of constant surveillance of
20   their financial and personal records, monitoring, and loss of rights. The Class is incurring
21   and will continue to incur such damages in addition to any fraudulent credit and debit
22   card charges incurred by them and the resulting loss of use of their credit and access to
23   funds, whether or not such charges are ultimately reimbursed by the credit card
24   companies.
25
26   41
        Victims of Identity Theft, 2014 (Sept. 2015) available at:
27   http://www.bjs.gov/content/pub/pdf/vit14.pdf (last visited March 24, 2018).
     42
28      GAO, Report to Congressional Requesters, at 29 (June 2007), available at
     http://www.gao.gov/new.items/d07737.pdf (last visited March 24, 2018).
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 1   J.      Plaintiffs and Class Members Suffered Damages
 2           104. The Customer Data of Plaintiffs and Class members is private and sensitive
 3   in nature and was left inadequately protected by Forever 21. Forever 21 did not obtain
 4   Plaintiff’s and Class members’ consent to disclose their Customer Data to any other
 5   person as required by applicable law and industry standards.
 6
             105. The Data Breach was a direct and proximate result of Forever 21’s failure to
 7
     properly safeguard and protect Plaintiffs’ and Class members’ Customer Data from
 8
     unauthorized access, use, and disclosure, as required by various state and federal
 9
     regulations, industry practices, and the common law, including Forever 21’s failure to
10
     establish and implement appropriate administrative, technical, and physical safeguards to
11
     ensure the security and confidentiality of Plaintiffs’ and Class members’ Customer Data
12
     to protect against reasonably foreseeable threats to the security or integrity of such
13
14   information.

15           106. Forever 21 had the resources to prevent a breach, having dramatically

16   increased its overall annual sales in the last few years. Forever 21 made significant
17   expenditures to open new retail locations in 2017, but neglected to adequately invest in
18   data security, despite the growing number of POS intrusions and several years of well-
19   publicized data breaches.
20           107. Had Forever 21 remedied the deficiencies in its POS systems, followed PCI
21   DSS guidelines, and adopted security measures recommended by experts in the field,
22   Forever 21 would have prevented intrusion into its POS systems and, ultimately, the theft
23   of its customers’ confidential payment card information.
24           108. As a direct and proximate result of Forever 21’s wrongful actions and
25   inaction and the resulting Data Breach, Plaintiffs and Class members have been placed
26
     at an imminent, immediate, and continuing increased risk of harm from identity theft and
27
     identity fraud, requiring them to take the time which they otherwise would have dedicated
28

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 1   to other life demands such as work and effort to mitigate the actual and potential impact
 2   of the Data Breach on their lives including, inter alia, by placing “freezes” and “alerts”
 3   with credit reporting agencies, contacting their financial institutions, closing or
 4   modifying financial accounts, closely reviewing and monitoring their credit reports and
 5   accounts for unauthorized activity, and filing police reports. This time has been lost
 6
     forever and cannot be recaptured. In all manners of life in this country, time has
 7
     constantly been recognized as compensable, for many consumers it is the way they are
 8
     compensated, and even if retired from the work force, consumers should be free of having
 9
     to deal with the consequences of a retailer’s slippage, as is the case here.
10
             109. Forever 21’s wrongful actions and inaction directly and proximately caused
11
     the theft and dissemination into the public domain of Plaintiffs’ and Class members’
12
     Customer Data, causing them to suffer, and continue to suffer, economic damages and
13
14   other actual harm for which they are entitled to compensation, including:

15                   a. theft of their personal and financial information;

16                   b. unauthorized charges on their debit and credit card accounts;
17                   c. the imminent and certainly impending injury flowing from potential
18                       fraud and identity theft posed by their credit/debit card and personal
19                       information being placed in the hands of criminals and already misused
20                       via the sale of Plaintiffs’ and Class members’ information on the Internet
21                       card black market;
22                   d. the untimely and inadequate notification of the Data Breach;
23                   e. the improper disclosure of their Customer Data;
24                   f. loss of privacy;
25                   g. the monetary amount of purchases at Forever 21 during the period of the
26
                         Data Breach in that Plaintiffs and Class members would not have
27
                         shopped at Forever 21, or at least would not have used their payment
28

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 1                       cards for purchases, had Forever 21 disclosed that it lacked adequate
 2                       systems and procedures to reasonably safeguard customers’ financial and
 3                       personal information and had Forever 21 provided timely and accurate
 4                       notice of the Data Breach;
 5                   h. ascertainable losses in the form of out-of-pocket expenses and the value
 6
                         of their time reasonably incurred to remedy or mitigate the effects of the
 7
                         Data Breach;
 8
                     i. ascertainable losses in the form of deprivation of the value of their PII
 9
                         and PCD, for which there is a well-established national and international
10
                         market;
11
                     j. ascertainable losses in the form of the loss of cash back or other benefits
12
                         as a result of their inability to use certain accounts and cards affected by
13
14                       the Data Breach;

15                   k. loss of use of and access to their account funds and costs associated with

16                       the inability to obtain money from their accounts or being limited in the
17                       amount of money they were permitted to obtain from their accounts,
18                       including missed payments on bills and loans, late charges and fees, and
19                       adverse effects on their credit including adverse credit notations; and,
20                   l. the loss of productivity and value of their time spent to address attempt
21                       to ameliorate, mitigate and deal with the actual and future consequences
22                       of the data breach, including finding fraudulent charges, cancelling and
23                       reissuing cards, purchasing credit monitoring and identity theft
24                       protection services, imposition of withdrawal and purchase limits on
25                       compromised accounts, and the stress, nuisance and annoyance of
26
                         dealing with all such issues resulting from the Data Breach.
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 1            110. Forever 21 has not offered customers any credit monitoring or identity theft
 2   protection services, despite the fact that it is well known and acknowledged by the
 3   government that damage and fraud from a data breach can take years to occur. As a result,
 4   Plaintiffs and Class members are left to their own actions to protect themselves from the
 5   financial damage Forever 21 has allowed to occur. The additional cost of adequate and
 6
     appropriate coverage, or insurance, against the losses and exposure that Forever 21’s
 7
     actions have created for Plaintiff and Class members, is ascertainable and is a
 8
     determination appropriate for the trier of fact. Forever 21 has also not offered to cover
 9
     any of the damages sustained by Plaintiff or Class members.
10
              111. While the Customer Data of Plaintiffs and members of the Class has been
11
     stolen, Forever 21 continues to hold Customer Data of consumers, including Plaintiffs
12
     and Class members. Particularly because Forever 21 and has demonstrated an inability to
13
14   prevent a breach or stop it from continuing even after being detected, Plaintiffs and

15   members of the Class have an undeniable interest in insuring that their Customer Data is

16   secure, remains secure, is properly and promptly destroyed and is not subject to further
17   theft.
18                                          CHOICE OF LAW
19            112. California, which seeks to protect the rights and interests of California and
20   other U.S. residents against a company doing business in California, has a greater interest
21   in the claims of Plaintiffs and the Class members than any other state and is most
22   intimately concerned with the claims and outcome of this litigation.
23            113.    The principal place of business of Forever 21, located at 3880 N. Mission
24   Road, Los Angeles, California, is the “nerve center” of its business activities – the place
25   where its high-level officers direct, control, and coordinate the corporation’s activities,
26
     including its data security, and where: a) major policy, b) advertising, c) distribution, d)
27
     accounts receivable departments and e) financial and legal decisions originate.
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 1           114. Forever 21’s corporate point-of-sale system and IT personnel operate out of
 2   and are located at Forever 21’s headquarters in California. PCI-DSS assessments and
 3   other duties related to POS systems and data security occur at Forever 21’s California
 4   headquarters.
 5           115. Furthermore, Forever 21’s response to, and corporate decisions surrounding
 6
     such response to, the Data Breach were made from and in California.
 7
             116. Forever 21’s breach of its duty to customers, and Plaintiffs, emanated from
 8
     California.
 9
             117. Moreover, because Defendants are headquartered in California and their key
10
     decisions and operations emanate from California, California law can and should apply
11
     to claims relating to the Forever 21 Data Breaches, even those made by persons who
12
     reside outside of California. In fact, California law should apply to all Plaintiffs’ claims,
13
14   as Defendants’ decisions and substandard acts happened in California, and upon

15   information and belief, the Plaintiffs’ PII was collected, stored on, and routed through

16   California, and United States-based servers. For the sake of fairness and efficiency,
17   California law should apply to these claims.
18           118. Application of California law to a nationwide Class with respect to
19   Plaintiffs’ and the Class members’ claims is neither arbitrary nor fundamentally unfair
20   because California has significant contacts and a significant aggregation of contacts that
21   create a state interest in the claims of the Plaintiffs and the nationwide Class.
22           119. Further, under California’s choice of law principles, which are applicable to
23   this action, the common law of California will apply to the common law claims of all
24   Class members.
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 1                                   CLASS ACTION ALLEGATIONS
 2           120. Pursuant to Rule 23(b)(2), (b)(3) and (c)(4) of the Federal Rules of Civil
 3   Procedure, Plaintiffs bring this lawsuit on behalf of themselves and as a class action on
 4   behalf of the following Class:
 5
 6                   All persons residing in the United States who made a credit or
                     debit card purchase at any affected Forever 21 location from
 7                   April 3, 2017 through November 18, 2017.
 8           121. Plaintiff Jowharah Hameed-Bolden brings this lawsuit on behalf of herself
 9   and as a class action on behalf of the following California state subclass:
10
                 All persons residing in California who made a credit or debit card
11
                 purchase at any affected Forever 21 location from April 3, 2017
12               through November 18, 2017.
13           122. Excluded from the Class and California subclass are Defendants and any
14   entities in which any Defendant or their subsidiaries or affiliates have a controlling
15   interest; Defendants’ officers, agents, and employees; and all persons who make a timely
16   election to be excluded from the Class. Also excluded from the Class are the judge
17   assigned to this action, and any member of the judge’s immediate family.
18           123. Numerosity: The members of each Class are so numerous that joinder of all
19
     members of any Class would be impracticable. Plaintiffs reasonably believe that Class
20
     members number hundreds of millions of people or more in the aggregate and well over
21
     1,000 in the smallest of the classes. The names and addresses of Class members are
22
     identifiable through documents maintained by Defendants.
23
             124. Commonality and Predominance: This action involves common questions
24
     of law or fact, which predominate over any questions affecting individual Class members,
25
26   including:

27                   a.    Whether Defendants owed a legal duty to Plaintiffs and the Class to

28                         exercise due care in collecting, storing, and safeguarding their PII;

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 1                   b.    Whether Defendants breached a legal duty to Plaintiffs and the Class to
 2                         exercise due care in collecting, storing, and safeguarding their PII;
 3                   c.    Whether Class members’ PII was accessed, compromised, or stolen in
 4                         the Data Breach;
 5                   d.    Whether Defendants failed to timely notify the public of those
 6
                           Breaches;
 7
                     e.    Whether Defendants’ conduct was an unlawful or unfair business
 8
                           practice under Cal. Bus. & Prof. Code § 17200, et seq.;
 9
                     f.    Whether Defendants’ conduct violated the Consumer Records Act, Cal.
10
                           Civ. Code § 1798.80 et seq.;
11
                     g.    Whether Defendants’ conduct violated § 5 of the Federal Trade
12
                           Commission Act, 15 U.S.C. § 45, et seq.,
13
14                   h.    Whether Plaintiffs and the Class are entitled to equitable relief,

15                         including, but not limited to, injunctive relief and restitution; and

16                   i.    Whether Plaintiffs and the other Class members are entitled to actual,
17                         statutory, or other forms of damages, and other monetary relief.
18           125. Defendants engaged in a common course of conduct giving rise to the legal
19   rights sought to be enforced by Plaintiffs individually and on behalf of the members of
20   their respective classes. Similar or identical statutory and common law violations,
21   business practices, and injuries are involved. Individual questions, if any, pale by
22   comparison, in both quantity and quality, to the numerous common questions that
23   dominate this action.
24           126. Typicality: Plaintiffs’ claims are typical of the claims of the other members
25   of their respective classes because, among other things, Plaintiffs and the other class
26
     members were injured through the substantially uniform misconduct by Defendants.
27
     Plaintiffs are advancing the same claims and legal theories on behalf of themselves and
28

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 1   all other Class members, and there are no defenses that are unique to Plaintiffs. The
 2   claims of Plaintiffs and those of other Class members arise from the same operative facts
 3   and are based on the same legal theories.
 4           127. Adequacy of Representation: Plaintiffs are adequate representatives of the
 5   classes because their interests do not conflict with the interests of the other Class members
 6
     they seek to represent; they have retained counsel competent and experienced in complex
 7
     class action litigation and Plaintiffs will prosecute this action vigorously. The Class
 8
     members’ interests will be fairly and adequately protected by Plaintiffs and their counsel.
 9
             128. Superiority: A class action is superior to any other available means for the
10
     fair and efficient adjudication of this controversy, and no unusual difficulties are likely
11
     to be encountered in the management of this matter as a class action. The damages, harm,
12
     or other financial detriment suffered individually by Plaintiffs and the other members of
13
14   their respective classes are relatively small compared to the burden and expense that

15   would be required to litigate their claims on an individual basis against Defendants,

16   making it impracticable for Class members to individually seek redress for Defendants’
17   wrongful conduct. Even if Class members could afford individual litigation, the court
18   system could not. Individualized litigation would create a potential for inconsistent or
19   contradictory judgments and increase the delay and expense to all parties and the court
20   system. By contrast, the class action device presents far fewer management difficulties
21   and provides the benefits of single adjudication, economies of scale, and comprehensive
22   supervision by a single court.
23           129. Further, Defendants have acted or refused to act on grounds generally
24   applicable to the Class and, accordingly, final injunctive or corresponding declaratory
25   relief with regard to the members of the Class as a whole is appropriate under Rule
26
     23(b)(2) of the Federal Rules of Civil Procedure.
27
28

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 1           130. Likewise, particular issues under Rule 23(c)(4) are appropriate for
 2   certification because such claims present only particular, common issues, the resolution
 3   of which would advance the disposition of this matter and the parties’ interests therein.
 4   Such particular issues include, but are not limited to:
 5                   a.    Whether Class members’ PII was accessed, compromised, or stolen in
 6
                           the Data Breach;
 7
                     b.    Whether (and when) Defendants knew about the Data Breach before
 8
                           they were announced to the public and whether Defendants failed to
 9
                           timely notify the public of the Breach;
10
                     c.    Whether Defendants’ conduct was an unlawful or unfair business
11
                           practice under Cal. Bus. & Prof. Code § 17200, et seq.;
12
                     d.    Whether Defendants misrepresented the safety of their many systems
13
14                         and services, specifically the security thereof, and their ability to safely

15                         store Plaintiffs’ and Class members’ Customer Data;

16                   e.    Whether Defendants concealed crucial information about their
17                         inadequate data security measures from Plaintiffs and the Class;
18                   f.    Whether Defendants failed to comply with their own policies and
19                         applicable laws, regulations, and industry standards relating to data
20                         security;
21                   g.    Whether Defendants’ acts, omissions, misrepresentations, and practices
22                         were and are likely to deceive consumers;
23                   h.    Whether Defendants knew or should have known that they did not
24                         employ reasonable measures to keep Plaintiffs’ and Class members’
25                         Customer Data secure and prevent the loss or misuse of that
26
                           information;
27
28

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 1                   i.    Whether Defendants failed to implement and maintain reasonable
 2                         security procedures and practices for Plaintiffs’ and Class members’
 3                         Customer Data in violation of Cal. Civ. Code § 1798.81.5, and Section
 4                         5 of the FTC Act;
 5                   j.    Whether Defendants failed to provide timely notice of the Data Breach,
 6
                           to Plaintiffs and Class members in violation of California Civil Code §
 7
                           1798.82;
 8
                     k.    Whether Defendants owed a duty to Plaintiffs and the Class to
 9
                           safeguard their Customer Data and to implement adequate data security
10
                           measures;
11
                     l.    Whether Defendants breached that duty;
12
                     m. Whether an implied contract existed between Defendants and Plaintiffs
13
14                         and the Class members and the terms of that implied contract; and,

15                   n.    Whether Defendants breached the implied contract.

16                                     First Claim for Relief
17                 Violation of California’s Unfair Competition Law (“UCL”) –
                                     Unlawful Business Practice
18
                              (Cal. Bus. & Prof. Code § 17200, et seq.)
19
             131. Plaintiffs repeat, reallege, and incorporate by reference the allegations
20
     contained in paragraphs 1 through 130 as though fully stated herein.
21
             132. By reason of the conduct alleged herein, Defendants engaged in unlawful
22
     practices within the meaning of the UCL. The conduct alleged herein is a “business
23
     practice” within the meaning of the UCL.
24
             133. As discussed above, Forever 21’s acts, practices, and omissions at issue in
25
     this matter, particularly those related to data security, were directed and emanated from
26
27   its headquarters in Los Angeles, California.

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 1           134. By using their payment cards as methods of payment, which Forever 21
 2   accepted, Plaintiff and Class members entrusted Forever 21 with their private Customer
 3   Data.
 4           135. Defendants stored the PII and PCD of Plaintiffs and the Class in Defendants’
 5   electronic and consumer information databases. Defendants knew or should have known
 6
     they did not employ reasonable, industry standard, and appropriate security measures that
 7
     complied “with federal regulations” and that would have kept Plaintiffs’ and the other
 8
     Class members’ Customer Data secure and prevented the loss or misuse of Plaintiffs’ and
 9
     the other Class members’ Customer Data. Forever 21 did not disclose to Plaintiffs and of
10
     Class members that its data systems were not secure.
11
             136. Plaintiffs and Class members were entitled to assume, and did assume,
12
     Defendants would take appropriate measures to keep their Customer Data safe.
13
14   Defendants did not disclose at any time that Plaintiffs’ Customer Data was vulnerable to

15   hackers because Defendants’ data security measures were inadequate, and Defendants

16   were the only ones in possession of that material information, which they had a duty to
17   disclose.
18           137. Defendants violated the UCL by misrepresenting, both by affirmative
19   conduct and by omission, the safety of its many systems and services, specifically the
20   security thereof, and their ability to safely store Plaintiffs’ and Class members’ Customer
21   Data. Defendants also violated the UCL by failing to implement reasonable and
22   appropriate security measures or follow industry standards for data security, and by
23   failing to immediately notify Plaintiffs and the other Class members of the Data Breach.
24   If Defendants had complied with these legal requirements, Plaintiffs and the other Class
25   members would not have suffered the damages related to the Data Breach.
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27
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 1           138. Further, as alleged herein this Complaint, Forever 21 engaged in unlawful
 2   business practices in the conduct of business transactions, in violation of the UCL, by and
 3   including, it’s:
 4                   a.    failure to maintain adequate computer systems and data security
 5                         practices to safeguard Customer Data;
 6
                     b.    failure to disclose that its computer systems and data security practices
 7
                           were inadequate to safeguard Customer Data from theft;
 8
                     c.    failure to timely and accurately disclose the Data Breach to Plaintiff
 9
                           and Class members;
10
                     d.    continued acceptance of credit and debit card payments and storage of
11
                           other personal information after Forever 21 knew or should have known
12
                           of the security vulnerabilities of the POS systems that were exploited
13
14                         in the Data Breach; and

15                   e.    continued acceptance of credit and debit card payments and storage of

16                         other personal information after Forever 21 knew or should have known
17                         of the Data Breach and before it allegedly remediated the Breach.
18           139. Furthermore, as alleged above, Forever 21’s failure to secure consumers’
19   Customer Data violates the FTCA and therefore violates the UCL.
20           140. Forever 21 knew or should have known that its computer and POS systems
21   and data security practices were inadequate to safeguard the Customer Data of Plaintiffs
22   and Class members, deter hackers, and detect a breach within a reasonable time, and that
23   the risk of a data breach was highly likely.
24           141. Because Forever 21 accepted credit and debit cards as methods of payment,
25   Plaintiffs and Class members relied upon Forever 21 to advise customers if its POS and
26
     data systems were not secure and, thus, Customer Data could be compromised.
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 1           142. Plaintiffs and Class members were not afforded by Forever 21 equal or
 2   ample opportunity to make any inspection to determine Forever 21’s data security or to
 3   otherwise ascertain the truthfulness of Defendant’s direct and indirect representations
 4   regarding data security, including Forever 21’s failure to alert customers that its POS and
 5   data systems were not secure and, thus, were vulnerable to attack.
 6
             143. In deciding to use their payment cards for their purchases at Forever 21,
 7
     Plaintiffs and Class members relied upon Forever 21’s direct and indirect representations
 8
     regarding data security, including Forever 21’s failure to alert customers that its POS and
 9
     data systems were not secure and, thus, were vulnerable to attack.
10
             144. Had Forever 21 disclosed to Plaintiffs and Class members that its POS and
11
     data systems were not secure and, thus, vulnerable to attack, Plaintiffs and Class members
12
     would not have used their payment cards at Forever 21, and very well may not have made
13
14   purchases at all at Forever 21 stores.

15           145. Plaintiffs and Class members would not have given their PII and PCD to

16   Forever 21 if Forever 21 had disclosed the security issues.
17           146. As a direct result of their reliance upon Forever 21 to be truthful in its
18   disclosures and non-disclosures regarding the vulnerability of its POS and data systems,
19   Plaintiffs and Class members used their payment cards to make purchases at Forever 21
20   during the Data Breach period and their Customer Data was compromised causing
21   Plaintiffs and Class members to suffer damages.
22           147. As a direct result of Forever 21’s refusal to disclose that its data systems
23   were not secure, Plaintiffs and Class members:
24                      a. surrendered more in their transactions that they otherwise would have
25                          had;
26
                        b. entered into transactions costing money or property that they otherwise
27
                            would not have entered;
28

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 1                      c. had the value of their PII diminished; and,
 2                      d. had their PII compromised causing losses and damages, and thus were
 3                          deprived of money and property
 4           148. As a direct and proximate result of Forever 21’s violation of the UCL,
 5   Plaintiffs and Class members suffered damages including, but not limited to: diminution
 6
     of their PII, damages arising from the unauthorized charges on their debit or credit cards
 7
     or on cards that were fraudulently obtained through the use of the Customer Data of
 8
     Plaintiffs and Class members; damages arising from Plaintiffs’ inability to use their debit
 9
     or credit cards because those cards were cancelled, suspended, or otherwise rendered
10
     unusable as a result of the Data Breach and/or false or fraudulent charges stemming from
11
     the Data Breach, including but not limited to late fees charged and foregone cash back
12
     rewards; damages from lost time and effort to mitigate the actual and potential impact of
13
14   the Data Breach on their lives including, inter alia, by placing “freezes” and “alerts” with

15   credit reporting agencies, contacting their financial institutions, closing or modifying

16   financial accounts, closely reviewing and monitoring their credit reports and accounts for
17   unauthorized activity, and filing police reports and damages from identity theft, which
18   may take months if not years to discover and detect, given the far-reaching, adverse and
19   detrimental consequences of identity theft and loss of privacy. In addition, their PII was
20   taken and is in the hands of those who will use it for their own advantage, or is being sold
21   for value, making it clear that the hacked information is of tangible value. The nature of
22   other forms of economic damage and injury may take years to detect, and the potential
23   scope can only be assessed after a thorough investigation of the facts and events
24   surrounding the theft mentioned above.
25           149. As a result of Defendants’ unlawful business practices, violations of the
26
     UCL, Plaintiffs and the members of the Class are entitled to restitution, disgorgement of
27
     wrongfully obtained profits and injunctive relief.
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 1                                    Second Claim for Relief
 2                 Violation of California’s Unfair Competition Law (“UCL”) –
                                      Unfair Business Practice
 3                            (Cal. Bus. & Prof. Code § 17200, et seq.)
 4           150. Plaintiffs repeat, reallege, and incorporate by reference the allegations
 5   contained in paragraphs 1 through 130 as though fully stated herein.
 6
             151. As discussed above, Forever 21’s acts, practices, and omissions at issue in
 7
     this matter, particularly those related to data security, were directed and emanated from
 8
     its headquarters in Los Angeles, California.
 9
             152. By using their payment cards as methods of payment, which Forever 21
10
     accepted, Plaintiffs and Class members entrusted Forever 21 with their private Customer
11
     Data.
12
             153. By reason of the conduct alleged herein, Defendants engaged in unfair
13
14   practices within the meaning of the UCL. The conduct alleged herein is a “business

15   practice” within the meaning of the UCL.
16           154. Defendants stored the PII of Plaintiffs and members of their respective
17   Classes in Defendants’ electronic and consumer information databases. Defendants knew
18   or should have known they did not employ reasonable, industry standard, and appropriate
19   security measures that complied “with federal regulations” and that would have kept
20   Plaintiffs’ and the other Class members’ Customer Data secure and prevented the loss or
21   misuse of Plaintiffs’ and the other Class members’ Customer Data. Forever 21 did not
22   disclose to Plaintiffs and of Class members that its data systems were not secure.
23           155. Plaintiffs and Class members were entitled to assume, and did assume,
24   Defendants would take appropriate measures to keep their Customer Data safe.
25
     Defendants did not disclose at any time that Plaintiffs’ Customer Data was vulnerable to
26
     hackers because Defendants’ data security measures were inadequate, and Defendants
27
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 1   were the only ones in possession of that material information, which they had a duty to
 2   disclose.
 3           156. Defendants violated the UCL by misrepresenting, both by affirmative
 4   conduct and by omission, the safety of its many systems and services, specifically the
 5   security thereof, and their ability to safely store Plaintiffs’ and Class members’ Customer
 6
     Data. Defendants also violated the UCL by failing to implement reasonable and
 7
     appropriate security measures or follow industry standards for data security, and by
 8
     failing to immediately notify Plaintiffs and the other Class members of the Data Breach.
 9
     If Defendants had complied with these legal requirements, Plaintiffs and the other Class
10
     members would not have suffered the damages related to the Data Breach.
11
             157. Further, as alleged herein this Complaint, Forever 21 engaged in unfair
12
     business practices in the conduct of business transactions, in violation of the UCL, by and
13
14   including, it’s:

15                   a.    failure to maintain adequate computer systems and data security

16                         practices to safeguard Customer Data;
17                   b.    failure to disclose that its computer systems and data security practices
18                         were inadequate to safeguard Customer Data from theft;
19                   c.    failure to timely and accurately disclose the Data Breach to Plaintiffs
20                         and Class members;
21                   d.    continued acceptance of credit and debit card payments and storage of
22                         other personal information after Forever 21 knew or should have known
23                         of the security vulnerabilities of the POS systems that were exploited
24                         in the Data Breach; and
25                   e.    continued acceptance of credit and debit card payments and storage of
26
                           other personal information after Forever 21 knew or should have known
27
                           of the Data Breach and before it allegedly remediated the Breach.
28

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 1           158. Furthermore, as alleged above, Forever 21’s failure to secure consumers’
 2   Customer Data violates the FTCA and therefore violates the UCL.
 3           159. Forever 21 knew or should have known that its computer and POS systems
 4   and data security practices were inadequate to safeguard the Customer Data of Plaintiffs
 5   and Class members, deter hackers, and detect a breach within a reasonable time, and that
 6
     the risk of a data breach was highly likely.
 7
             160. Because Forever 21 accepted credit and debit cards as methods of payment,
 8
     Plaintiffs and Class members relied upon Forever 21 to advise customers if its POS and
 9
     data systems were not secure and, thus, Customer Data could be compromised.
10
             161. Plaintiffs and Class members were not afforded by Forever 21 equal or
11
     ample opportunity to make any inspection to determine Forever 21’s data security or to
12
     otherwise ascertain the truthfulness of Defendants’ direct and indirect representations
13
14   regarding data security, including Forever 21’s failure to alert customers that its POS and

15   data systems were not secure and, thus, were vulnerable to attack.

16           162. In deciding to use their payment cards for their purchases at Forever 21,
17   Plaintiffs and Class members relied upon Forever 21’s direct and indirect representations
18   regarding data security, including Forever 21’s failure to alert customers that its POS and
19   data systems were not secure and, thus, were vulnerable to attack.
20           163. Had Forever 21 disclosed to Plaintiffs and Class members that its POS and
21   data systems were not secure and, thus, vulnerable to attack, Plaintiffs and Class members
22   would not have used their payment cards at Forever 21, and very well may not have made
23   purchases at all at Forever 21 stores.
24           164. As a direct result of their reliance upon Forever 21 to be truthful in its
25   disclosures and non-disclosures regarding the vulnerability of its POS and data systems,
26
     Plaintiffs and Class members used their payment cards to make purchases at Forever 21
27
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 1   s during the Data Breach period and their Customer Data was compromised causing
 2   Plaintiff and Class members to suffer damages.
 3           165. As a direct and proximate result of Forever 21’s violation of the UCL,
 4   Plaintiffs and Class members suffered damages including, but not limited to: damages
 5   arising from the unauthorized charges on their debit or credit cards or on cards that were
 6
     fraudulently obtained through the use of the Customer Data of Plaintiffs and Class
 7
     members; damages arising from Plaintiffs’ inability to use their debit or credit cards
 8
     because those cards were cancelled, suspended, or otherwise rendered unusable as a result
 9
     of the Data Breach and/or false or fraudulent charges stemming from the Data Breach,
10
     including but not limited to late fees charged and foregone cash back rewards; damages
11
     from lost time and effort to mitigate the actual and potential impact of the Data Breach
12
     on their lives including, inter alia, by placing “freezes” and “alerts” with credit reporting
13
14   agencies, contacting their financial institutions, closing or modifying financial accounts,

15   closely reviewing and monitoring their credit reports and accounts for unauthorized

16   activity, and filing police reports and damages from identity theft, which may take months
17   if not years to discover and detect, given the far-reaching, adverse and detrimental
18   consequences of identity theft and loss of privacy. The nature of other forms of economic
19   damage and injury may take years to detect, and the potential scope can only be assessed
20   after a thorough investigation of the facts and events surrounding the theft mentioned
21   above.
22           166. As a result of Defendants’ unfair business practices, violations of the UCL,
23   Plaintiffs and the members of the Class are entitled to restitution, disgorgement of
24   wrongfully obtained profits and injunctive relief.
25           167. Defendants engaged in unfair business practices under the “balancing
26
     test.” The harm caused by Forever 21’s actions and omissions, as described in detail
27
     above, greatly outweigh any perceived utility. Indeed, Forever 21’s’ failure to follow
28

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 1   basic data security protocols cannot be said to have had any utility at all. And, there was
 2   no utility, other than perhaps to Defendants themselves, in failure to advise consumers
 3   about Forever 21’s inadequate data security while accepted payment cards and
 4   unreasonably waiting to disclose the Data Breach to its customers. All of these actions
 5   and omissions were clearly injurious to Plaintiffs and the Class members, directly causing
 6
     the harms alleged below.
 7
             168. Defendants engaged in unfair business practices under the “tethering
 8
     test.” Defendants’ actions and omissions, as described in detail above, violated
 9
     fundamental public policies expressed by the California Legislature. See, e.g., Cal. Civ.
10
     Code § 1798.1 (“The Legislature declares that ... all individuals have a right of privacy
11
     in information pertaining to them.... The increasing use of computers ... has greatly
12
     magnified the potential risk to individual privacy that can occur from the maintenance of
13
14   personal information.”); Cal. Civ. Code § 1798.81.5(a) (“It is the intent of the Legislature

15   to ensure that personal information about California residents is protected.”); Cal. Bus.

16   & Prof. Code § 22578 (“It is the intent of the Legislature that this chapter [including the
17   Online Privacy Protection Act] is a matter of statewide concern.”) Defendants’ acts and
18   omissions, and the injuries caused by them are thus “comparable to or the same as a
19   violation of the law …” Cel-Tech Communications, Inc. v. Los Angeles Cellular
20   Telephone Co. (1999) 20 Cal.4th 163, 187.
21           169. Defendants engaged in unfair business practices under the “FTC test.”
22   The harm caused by Defendants’ actions and omissions, as described in detail above, is
23   substantial in that it affects perhaps millions of Class members and has caused those
24   persons to suffer actual harms. Such harms include a substantial risk of identity theft,
25   disclosure of Class members’ Customer Data to third parties without their consent,
26
     diminution in value of their Customer Data, consequential out of pocket losses for
27
     procuring credit freeze or protection services, identity theft monitoring, and other
28

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 1   expenses relating to identity theft losses or protective measures. This harm continues
 2   given the fact that Class members’ Customer Data remains in Defendants’ possession,
 3   without adequate protection, and is also in the hands of those who obtained it without
 4   their consent.
 5           170. Defendants’ actions and omissions violated, inter alia, Section 5(a) of the
 6
     Federal Trade Commission Act, 15 U.S.C. § 45. See, e.g., F.T.C. v. Wyndham Worldwide
 7
     Corp., 10 F. Supp. 3d 602, 613 (D.N.J. 2014), aff'd, 799 F.3d 236 (3d Cir. 2015); In re
 8
     LabMD, Inc., FTC Docket No. 9357, FTC File No. 102-3099 (July 28, 2016) (failure to
 9
     employ reasonable and appropriate measures to secure personal information collected
10
     violated § 5(a) of FTC Act); In re BJ’s Wholesale Club, Inc., FTC Docket No. C-4148,
11
     FTC File No. 042-3160 (Sept. 20, 2005) (same); In re CardSystems Solutions, Inc., FTC
12
     Docket No. C-4168, FTC File No. 052-3148 (Sept. 5, 2006) (same); see also United
13
14   States v. ChoicePoint, Inc., Civil Action No. 1:06-cv-0198-JTC (N.D. Ga. Oct. 14, 2009)

15   (“failure to establish and implement, and thereafter maintain, a comprehensive

16   information security program that is reasonably designed to protect the security.
17   confidentiality, and integrity of personal information collected from or about consumers”
18   violates § 5(a) of FTC Act); 15 U.S.C. § 45(n) (defining “unfair acts or practices” as those
19   that “cause[ ] or [are] likely to cause substantial injury to consumers which [are] not
20   reasonably avoidable by consumers themselves and not outweighed by countervailing
21   benefits to consumers or to competition.”).
22           171. Section 5 of the FTC Act prohibits “unfair . . . practices in or affecting
23   commerce,” including, as interpreted and enforced by the FTC, the unfair act or practice
24   by businesses, such as Forever 21, of failing to use reasonable measures to protect
25   Customer Data. The FTC publications and orders described above also form part of the
26
     basis of Forever 21’s duty in this regard.
27
28

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 1           172. Forever 21 violated Section 5 of the FTC Act by failing to use reasonable
 2   measures to protect Customer Data and not complying with applicable industry standards,
 3   as described in detail herein. Forever 21’s conduct was particularly unreasonable given
 4   the nature and amount of Customer Data it obtained and stored, and the foreseeable
 5   consequences of a data breach at a retail chain as large as Forever 21, including,
 6
     specifically, the immense damages that would result to Plaintiffs and Class members.
 7
             173. Plaintiffs and Class members are within the class of persons that the FTC
 8
     Act was intended to protect.
 9
             174. The harm that occurred as a result of the Data Breach is the type of harm the
10
     FTC Act was intended to guard against. The FTC has pursued enforcement actions
11
     against businesses, which, as a result of their failure to employ reasonable data security
12
     measures and avoid unfair and deceptive practices, caused the same harm as that suffered
13
14   by Plaintiffs and the Class.

15           175. Defendants engaged in unfair business practices by violating Section

16   1798.82 of the California Customer Records Act (“CRA”). Section 1798.82 of the
17   CRA requires any “person or business that conducts business in California, and that owns
18   or licenses computerized data that includes personal information” to “disclose any breach
19   of the security of the system following discovery or notification of the breach in the
20   security of the data to any resident of California whose unencrypted personal information
21   was, or is reasonably believed to have been, acquired by an unauthorized person.” Under
22   section 1798.82, the disclosure “shall be made in the most expedient time possible and
23   without unreasonable delay …”
24           176. The statute further provides: “Any person or business that maintains
25   computerized data that includes personal information that the person or business does not
26
     own shall notify the owner or licensee of the information of any breach of the security of
27
     the data immediately following discovery, if the personal information was, or is
28

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 1   reasonably believed to have been, acquired by an unauthorized person.” Cal. Civ. Code
 2   § 1798.82(b).
 3           177. The security breach notification required under the CRA shall be written in
 4   plain language and shall include, at a minimum, the following information:
 5                   a.    The name and contact information of the reporting person or business
 6
                           subject to this section;
 7
                     b.    A list of the types of personal information that were or are reasonably
 8
                           believed to have been the subject of a breach;
 9
                     c.    If the information is possible to determine at the time the notice is
10
                           provided, then any of the following: (i) the date of the breach, (ii) the
11
                           estimated date of the breach, or (iii) the date range within which the
12
                           breach occurred.
13
14                   d.    The date of the notice;

15                   e.    Whether notification was delayed as a result of a law enforcement

16                         investigation, if that information is possible to determine at the time the
17                         notice is provided;
18                   f.    A general description of the breach incident, if that information is
19                         possible to determine at the time the notice is provided; and
20                   g.    The toll-free telephone numbers and addresses of the major credit
21                         reporting agencies if the breach exposed a social security number or a
22                         driver’s license or California identification card number.
23           178. The Data Breach described herein this Complaint constitutes a “breach of
24   the security system” of Defendants.
25           179. As alleged above, Defendants unreasonably delayed informing members of
26
     the California subclass about the Data Breach, affecting the confidential and non-public
27
28

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 1   Customer Data of Plaintiff Hameed-Bolden and the members of the California subclass,
 2   after Forever 21 knew the Data Breach had occurred.
 3           180. Defendants failed to disclose to Plaintiff Hameed-Bolden and the members
 4   of the California subclass, without unreasonable delay and in the most expedient time
 5   possible, the breach of security of their unencrypted, or not properly and securely
 6
     encrypted, Customer Data when Defendants knew or reasonably believed such
 7
     information had been compromised.
 8
             181. Forever 21’s ongoing business interests gave Defendants incentive to
 9
     conceal the Data Breach from the public to ensure continued revenue.
10
             182. Upon information and belief, no law enforcement agency instructed
11
     Defendants that notification to Plaintiff Hameed-Bolden and the members of the
12
     California subclass would impede its investigation.
13
14           183. As a result of Defendants’ violation of Cal. Civ. Code § 1798.82, Plaintiff

15   Hameed-Bolden and the members of the California subclass were deprived of prompt

16   notice of the Data Breach and were thus prevented from taking appropriate protective
17   measures, including closing their payment card accounts, not using payment cards as
18   payment for merchandise at Forever 21 stores, securing identity theft protection, or
19   requesting a credit freeze. These measures would have prevented some or all of the
20   damages suffered by Plaintiff Hameed-Bolden and the members of the California
21   subclass because their stolen information would not have any value to identity thieves.
22           184. As a result of Defendants’ unlawful practices in violation of the UCL,
23   Plaintiffs and the Class members suffered damages including, but not limited to: damages
24   arising from the unauthorized charges on their debit or credit cards or on cards that were
25   fraudulently obtained through the use of the Customer Data of Plaintiffs and Class
26
     members; damages arising from Plaintiffs’ inability to use their debit or credit cards
27
     because those cards were cancelled, suspended, or otherwise rendered unusable as a result
28

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 1   of the Data Breach and/or false or fraudulent charges stemming from the Data Breach,
 2   including but not limited to late fees charged and foregone cash back rewards; damages
 3   from lost time and effort to mitigate the actual and potential impact of the Data Breach
 4   on their lives including, inter alia, by placing “freezes” and “alerts” with credit reporting
 5   agencies, contacting their financial institutions, closing or modifying financial accounts,
 6
     closely reviewing and monitoring their credit reports and accounts for unauthorized
 7
     activity, and filing police reports and damages from identity theft, which may take months
 8
     if not years to discover and detect, given the far-reaching, adverse and detrimental
 9
     consequences of identity theft and loss of privacy. The nature of other forms of economic
10
     damage and injury may take years to detect, and the potential scope can only be assessed
11
     after a thorough investigation of the facts and events surrounding the theft mentioned
12
     above.
13
14           185. As a result of Defendants’ unfair business practices, violations of the UCL,

15   Plaintiffs and Class members are entitled to restitution, disgorgement of wrongfully

16   obtained profits and injunctive relief.
                                      Third Claim for Relief
17                 Deceit by Concealment — Cal. Civil Code §§ 1709, 1710
18           186. Plaintiffs repeat, reallege, and incorporate by reference the allegations
19
     contained in paragraphs 1 through 130 as though fully stated herein.
20
             187. As alleged above, Forever 21 knew its data security measures were grossly
21
     inadequate by, at the absolute latest, 2008.
22
             188. In response to this knowledge and a previous breach, Defendants chose to
23
     do nothing to protect Plaintiffs and the Class or warn them about the security problems
24
     and breaches.
25
             189. Defendants had an obligation to disclose to Class members that Forever 21’s
26
27   POS systems were an easy target for hackers and Defendants were not implementing

28   measures to protect them.

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 1           190. Defendants did not do these things. Instead, Defendants willfully deceived
 2   Plaintiffs and the Class by concealing the true facts concerning their data security, which
 3   Defendants were obligated to, and had a duty to, disclose.
 4           191.     Defendant’s duty to disclose the inadequacy of its data security measures
 5   also arose from the special relationship between Defendants and Plaintiffs and the Class.
 6
     First, Plaintiffs and the Class purchased merchandise from Forever 21 and in exchange
 7
     made payment to Defendants. However, an additional relationship was formed when
 8
     Forever 21 offered Plaintiffs and the Class the ability to use payment cards as an approved
 9
     form of payment and in exchange undertook a duty to protect the personal data attached
10
     to those payment cards.
11
             192. Plaintiffs and the Class accepted Forever 21’s offer to use payment cards
12
     with the understanding that Defendants would take appropriate measures to protect their
13
14   Customer Data and would inform Plaintiffs and the Class of any breaches or other

15   security concerns that might call for action by Plaintiffs and the Class. But, Defendants

16   did not. Defendants not only knew their data security was inadequate, they also knew
17   they didn’t even have the tools to detect and document intrusions or exfiltration of
18   Customer Data.
19           193. The injury and harm suffered by Plaintiffs and the Class members was the
20   reasonably foreseeable result of Defendants’ failure to disclose to Plaintiffs and the Class
21   the knowledge that their systems and technologies for processing and securing the
22   Customer Data had numerous security vulnerabilities.
23           194. Defendants are morally culpable given their inadequate approach to data
24   security, the deficiencies of which were so significant that the malware installed by the
25   hackers remained undetected and intact for months, and their refusal to notify their
26
     customers of their security vulnerabilities while continuing to accept payment cards as
27
     methods of payment.
28

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 1           195. Defendants' concealment of their knowledge and failure to adequately
 2   protect the Customer Data of Plaintiffs and the Class implicates the consumer data
 3   protection concerns expressed in California statutes, such as the CRA and CLRA.
 4           196. Had Defendants disclosed the true facts about their dangerously poor data
 5   security, Plaintiffs and the Class would have taken measures to protect themselves.
 6
     Plaintiffs and the Class justifiably relied on Defendants to provide accurate and complete
 7
     information about Defendants’ data security, and Defendants did not.
 8
             197. Independent of any representations made by Defendants, Plaintiffs and the
 9
     Class justifiably relied on Defendants to provide at least minimally adequate security
10
     measures and justifiably relied on Defendants to disclose facts undermining that reliance
11
     when accepted payment cards as methods of payment.
12
             198. In spite of Defendants’ knowledge, at least as early as 2008, that its data
13
14   security had multiple vulnerabilities, Forever 21 continued accepting payment cards as

15   methods of payment while failing to warn its customers that they did not have adequate

16   protection measures.
17           199. Because Forever 21 accepted credit and debit cards as methods of payment,
18   Plaintiffs and Class members relied upon Forever 21 to advise customers if its POS and
19   data systems were not secure and, thus, Customer Data could be compromised.
20           200. Plaintiffs and Class members were not afforded by Forever 21 equal or
21   ample opportunity to make any inspection to determine Forever 21’s data security or to
22   otherwise ascertain the truthfulness of Defendant’s direct and indirect representations
23   regarding data security, including Forever 21’s failure to alert customers that its POS and
24   data systems were not secure and, thus, were vulnerable to attack.
25           201. In deciding to use their payment cards for their purchases at Forever 21,
26
     Plaintiffs and Class members relied upon Forever 21’s direct and indirect representations
27
28

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 1   regarding data security, including Forever 21’s failure to alert customers that its POS and
 2   data systems were not secure and, thus, were vulnerable to attack.
 3           202. Had Forever 21 disclosed to Plaintiffs and Class members that its POS and
 4   data systems were not secure and, thus, vulnerable to attack, Plaintiffs and Class members
 5   would not have used their payment cards at Forever 21, and very well may not have made
 6
     purchases at all at Forever 21 stores.
 7
             203. Plaintiffs and Class members would not have given their PII and PCD to
 8
     Forever 21 if Forever 21 had disclosed the security issues
 9
             204. Had Defendants disclosed the true facts about their dangerously poor data
10
     security, Plaintiffs and the Class would have taken measures to protect themselves.
11
     Plaintiffs and the Class justifiably relied on Defendants to provide accurate and complete
12
     information about Defendants’ data security, and Defendants did not.
13
14           205. Alternatively, given the gaping security holes in Defendants’ data security

15   practices and Defendants’ refusal to take measures to even detect those holes, much less

16   fix them, Defendants simply should have stopped taking payment cards as a form of
17   payment.
18           206. Rather than disclosing to Plaintiffs and the Class that its systems were
19   unsafe, and Customer Data was at risk to theft on a grand scale, Forever 21 continued on
20   and willfully suppressed any information relating to the inadequacy of its security.
21           207. Defendants’ actions constitute “deceit” under Cal. Civil Code § 1710 in that
22   they are the suppression of a fact, by one who is bound to disclose it, or who gives
23   information of other facts which are likely to mislead for want of communication of that
24   fact.
25           208. As a result of this deceit by Defendants, they are liable under Cal. Civil Code
26
     § 1709 for “any damage which [Plaintiffs and the Class] thereby suffer[].”
27
28

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 1           209.     As a result of this deceit by Defendants, the Customer Data of Plaintiffs and
 2   the Class were compromised, placing them at a greater risk of identity theft and subjecting
 3   them to identity theft, and their Customer Data was disclosed to third parties without their
 4   consent. Plaintiffs and Class members also suffered diminution in value of their Customer
 5   Data in that it is now easily available to hackers on the Dark Web. Plaintiffs and the Class
 6
     have also suffered consequential out of pocket losses for overdraft charges, late fees,
 7
     other bank charges, procuring credit freeze and protection services, and other expenses
 8
     relating to identity theft losses or protective measures.
 9
             210. Defendants’ deceit as alleged herein is fraud under Civil Code § 3294(c)(3)
10
     in that it was deceit or concealment of a material fact known to the Defendants conducted
11
     with the intent on the part of Defendants of depriving Plaintiffs and the Class of “legal
12
     rights or otherwise causing injury.” As a result, Plaintiffs and the Class are entitled to
13
14   punitive damages against Defendants under Civil Code § 3294(a).

15
                                            Fourth Claim for Relief
16                                                Negligence
17           211. Plaintiffs repeat, reallege, and incorporate by reference the allegations
18   contained in paragraphs 1 through 130 as though fully stated herein.
19
             212. Upon accepting and storing the Customer Data of Plaintiffs and Class
20
     members in its computer systems and on its networks, Forever 21 undertook and owed a
21
     duty to Plaintiffs and Class members to exercise reasonable care to secure and safeguard
22
     that information and to use commercially reasonable methods to do so. Forever 21 knew
23
     that the Customer Data was private and confidential and should be protected as private
24
     and confidential.
25
             213. Forever 21 owed a duty of care not to subject Plaintiffs and Class members,
26
27   along with their Customer Data, to an unreasonable risk of harm because they were

28   foreseeable and probable victims of any inadequate security practices.

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 1            214. Defendants owed a duty to Plaintiffs and the Class to exercise reasonable
 2   care in safeguarding and protecting their Customer Data and keeping it from being
 3   compromised, lost, stolen, misused, and or/disclosed to unauthorized parties. This duty
 4   included, among other things, designing, maintaining, and testing Defendants’ security
 5   systems to ensure the Customer Data of Plaintiffs’ and the Class was adequately secured
 6
     and protected, including turning on the encryption technology Forever 21 had
 7
     implemented. Defendants further had a duty to implement processes that would detect a
 8
     breach of their data system in a timely manner.
 9
              215. Defendants knew that the Customer Data of Plaintiffs and the Class was
10
     personal and sensitive information that is valuable to identity thieves and other criminals.
11
     Defendants also knew of the serious harms that could happen if the Customer Data of
12
     Plaintiffs and the Class was wrongfully disclosed, that disclosure was not fixed, or
13
14   Plaintiffs and the Class were not told about the disclosure in a timely manner.

15            216. By being entrusted by Plaintiffs and the Class to safeguard their Customer

16   Data, Defendants had a special relationship with Plaintiffs and the Class. First, Plaintiffs
17   and the Class purchased merchandise from Forever 21 and in exchange made payment to
18   Defendants. However, an additional relationship was formed when Forever 21 offered
19   Plaintiffs and the Class the ability to use payment cards as an approved form of payment
20   and in exchange undertook a duty to protect the personal data attached to those payment
21   cards. This special relationship between Defendants and Plaintiffs and the Class further
22   solidifies the duty owed by Defendants to protect the Customer Data of Plaintiffs and the
23   Class.
24            217. Plaintiffs and the Class accepted Forever 21’s offer to use payment cards
25   with the understanding that Defendants would take appropriate measures to protect their
26
     Customer Data and would inform Plaintiffs and the Class of any breaches or other
27
     security concerns that might call for action by Plaintiffs and the Class. But, Defendants
28

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 1   did not. Defendants not only knew their data security was inadequate, they also knew
 2   they didn’t even have the tools to detect and document intrusions or exfiltration of
 3   Customer Data.
 4           218. The injury and harm suffered by Plaintiffs and the Class members was the
 5   reasonably foreseeable result of Defendants’ failure to exercise reasonable care in
 6
     safeguarding and protecting Plaintiff’s and the other class members’ Customer Data.
 7
     Defendants knew their systems and technologies for processing and securing the
 8
     Customer Data of Plaintiffs and the Class had numerous security vulnerabilities.
 9
             219. Defendants breached their duty to exercise reasonable care in safeguarding
10
     and protecting Plaintiffs’ and the Class members’ Customer Data by failing to adopt,
11
     implement, and maintain adequate security measures to safeguard that information,
12
     despite previous intrusions, and allowing unauthorized access to Plaintiffs’ and the other
13
14   Class members’ Customer Data.

15           220. Defendants also breached their duty to timely disclose that Plaintiffs’ and

16   the other Class members’ Customer Data had been, or was reasonably believed to have
17   been, stolen or compromised.
18           221. Defendants’ failure to comply with industry and federal regulations further
19   evidences Defendants’ negligence in failing to exercise reasonable care in safeguarding
20   and protecting Plaintiffs’ and the Class members’ Customer Data.
21           222. Defendants’ breaches of these duties were not merely isolated incidents or
22   small mishaps. Rather, the breaches of the duties set forth above resulted from a long-
23   term company-wide refusal by Defendants to acknowledge and correct serious and
24   ongoing data security problems.
25           223. Defendants are morally culpable given their inadequate approach to data
26
     security, the deficiencies of which were so significant that the malware installed by the
27
     hackers remained undetected and intact for months, and their refusal to notify their
28

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 1   customers of their security vulnerabilities while continuing to accept payment cards as
 2   methods of payment.
 3           224. Defendants' concealment of their knowledge and failure to adequately
 4   protect the Customer Data of Plaintiffs and the Class implicates the consumer data
 5   protection concerns expressed in California statutes, such as the CRA and CLRA.
 6
             225. But for Defendants’ wrongful and negligent breach of their duties owed to
 7
     Plaintiffs and the Class, their Customer Data would not have been compromised, stolen,
 8
     and viewed by unauthorized persons. Defendants’ negligence was a direct and legal cause
 9
     of the theft of the Customer Data of Plaintiffs and the Class and all resulting damages.
10
             226. As a result of this misconduct by Defendants, the Customer Data of
11
     Plaintiffs and the Class was compromised, placing them at a greater risk of identity theft
12
     and subjecting them to identity theft, and their Customer Data was disclosed to third
13
14   parties without their consent. Plaintiffs and Class members also suffered diminution in

15   value of their Customer Data in that it is now easily available to hackers on the Dark

16   Web. Plaintiffs and the Class have also suffered consequential out of pocket losses for
17   procuring credit freeze or protection services, identity theft monitoring, and other
18   expenses relating to identity theft losses or protective measures.
19           227. Defendants’ misconduct as alleged herein is malice or oppression under
20   Civil Code § 3294(c)(1) and (2) in that it was despicable conduct carried on by
21   Defendants with a willful and conscious disregard of the rights or safety of Plaintiffs and
22   the Class and despicable conduct that has subjected Plaintiffs and the Class to cruel and
23   unjust hardship in conscious disregard of their rights. As a result, Plaintiffs and the Class
24   are entitled to punitive damages against Defendants under Civil Code § 3294(a).
25           228. Having substantiated a claim of ordinary negligence, Plaintiffs are entitled
26
     to a presumption of negligence per se based upon Defendants’ violation of the FTC Act.
27
     Alternatively, Defendants’ violation of the FTC Act is evidence of their negligence.
28

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 1           229. Section 5 of the FTC Act prohibits “unfair . . . practices in or affecting
 2   commerce,” including, as interpreted and enforced by the FTC, the unfair act or practice
 3   by businesses, such as Forever 21, of failing to use reasonable measures to protect
 4   Customer Data. The FTC publications and orders described above also form part of the
 5   basis of Forever 21’s duty in this regard.
 6
             230. Forever 21 violated Section 5 of the FTC Act by failing to use reasonable
 7
     measures to protect Customer Data and not complying with applicable industry standards,
 8
     as described in detail herein. Forever 21’s conduct was particularly unreasonable given
 9
     the nature and amount of Customer Data it obtained and stored, and the foreseeable
10
     consequences of a data breach at a retail chain as large as Forever 21, including,
11
     specifically, the immense damages that would result to Plaintiffs and Class members.
12
             231. Plaintiffs and Class members are within the class of persons that the FTC
13
14   Act was intended to protect.

15           232. The harm that occurred as a result of the Data Breach is the type of harm the

16   FTC Act was intended to guard against. The FTC has pursued enforcement actions
17   against businesses, which, as a result of their failure to employ reasonable data security
18   measures and avoid unfair and deceptive practices, caused the same harm as that suffered
19   by Plaintiffs and the Class.
20           233. As a direct and proximate result of Forever 21’s violation of Section 5 of the
21   FTC Act, Plaintiffs and the Class have suffered, and continue to suffer, injuries damages
22   arising from Plaintiffs’ inability to use their debit or credit cards because those cards were
23   cancelled, suspended, or otherwise rendered unusable as a result of the Data Breach
24   and/or false or fraudulent charges stemming from the Data Breach, including but not
25   limited to late fees charged and foregone cash back rewards; damages from lost time and
26
     effort to mitigate the actual and potential impact of the Data Breach on their lives
27
     including, inter alia, by placing “freezes” and “alerts” with credit reporting agencies,
28

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 1   contacting their financial institutions, closing or modifying financial accounts, closely
 2   reviewing and monitoring their credit reports and accounts for unauthorized activity, and
 3   filing police reports and damages from identity theft, which may take months if not years
 4   to discover and detect, given the far-reaching, adverse and detrimental consequences of
 5   identity theft and loss of privacy.
 6
 7                                            Fifth Claim for Relief
 8                                          Breach of Implied Contract
 9           234. Plaintiffs repeat, reallege, and incorporate by reference the allegations
10   contained in paragraphs 1 through 130 as though fully stated herein.
11           235. Forever 21 solicited and invited Plaintiffs and Class members to make
12   purchases using their credit or debit cards. Plaintiffs and Class members accepted Forever
13   21’s offers and used their credit or debit cards to make purchases at Forever 21 stores
14   during the period of the Data Breach.
15           236. When Plaintiffs and Class members purchased and paid for merchandise at
16   Forever 21 stores using payment cards, they provided their Customer Data, including but
17   not limited to the PII and PCD contained on the face of, and embedded in the magnetic
18   strip of, their debit and credit cards. In so doing, Plaintiffs and Class members entered
19
     into implied contracts with Forever 21 pursuant to which Forever 21 agreed to safeguard
20
     and protect such information and to timely and accurately notify Plaintiffs and Class
21
     members if their data had been breached and compromised.
22
             237. Each purchase at Forever 21 made by Plaintiffs and Class members using
23
     their credit or debit card was made pursuant to the mutually agreed-upon implied contract
24
     with Forever 21 under which Forever 21 agreed to safeguard and protect the Customer
25
     Data of Plaintiff and Class members, including all information contained in the magnetic
26
27   stripe of Plaintiffs’ and Class members’ credit or debit cards, and to timely and accurately

28   notify them if such information was compromised or stolen.

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 1           238. Plaintiffs and Class members would not have provided and entrusted their
 2   Customer Data, including all information contained in the magnetic stripes of their credit
 3   and debit cards, to Forever 21 to eat at its restaurants and make purchases in the absence
 4   of the implied contract between them and Forever 21.
 5           239. Plaintiffs and Class members fully performed their obligations under the
 6
     implied contracts with Forever 21.
 7
             240. Forever 21 breached the implied contracts it made with Plaintiffs and Class
 8
     members by failing to safeguard and protect the Customer Data of Plaintiffs and Class
 9
     members and by failing to provide timely and accurate notice to them that their Customer
10
     Data was compromised as a result of the Data Breach.
11
             241. Plaintiffs and Class members conferred a monetary benefit on Forever 21.
12
     Specifically, they purchased goods and services from Forever 21 and provided Forever
13
14   21 with their payment information. In exchange, Plaintiffs and Class members should

15   have received from Forever 21 the goods and services that were the subject of the

16   transaction and should have been entitled to have Forever 21 protect their Customer Data
17   with adequate data security.
18           242. Forever 21 knew that Plaintiffs and Class members conferred a benefit on
19   Forever 21 and accepted and has accepted or retained that benefit. Forever 21 profited
20   from the purchases and used the Customer Data of Plaintiffs and Class members for
21   business purposes.
22           243. Forever 21 failed to secure the Customer Data of Plaintiffs and Class
23   members and, therefore, did not provide full compensation for the benefit the Plaintiffs
24   and Class members provided.
25           244. Forever 21 acquired the Customer Data through inequitable means it failed
26
     to disclose the inadequate security practices previously alleged.
27
28

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 1           245. If Plaintiffs and Class members knew that Forever 21 would not secure their
 2   Customer Data using adequate security, they would not have made purchases at Forever
 3   21.
 4           246. Under the circumstances, it would be unjust for Forever 21 to be permitted
 5   to retain any of the benefits that Plaintiffs and Class members conferred on it. Thus,
 6
     Plaintiffs and Class members are entitled to restitution for the amounts by which Forever
 7
     21 has been unjustly enriched.
 8
             247. Forever 21 should be compelled to disgorge into a common fund or
 9
     constructive trust, for the benefit of Plaintiffs and Class members, proceeds that it
10
     unjustly received from them.
11
             248. As a direct and proximate result of Forever 21’s breaches of the implied
12
     contracts between Forever 21 and Plaintiffs and Class members, Plaintiffs and Class
13
14   members sustained actual losses and damages, including nominal damages, as described

15   in detail above. This breach of the implied contracts was a direct and legal cause of the

16   injuries and damages to Plaintiffs and members of the Class as described above.
17           249. Plaintiffs and the Class members were harmed as the result of Defendants’
18   breach of the implied contracts because their PII and PCD were compromised, placing
19   them at a greater risk of identity theft and subjecting them to identity theft, and their PII
20   and PCD was disclosed to third parties without their consent. Plaintiffs and Class
21   members also suffered diminution in value of their PII in that it is now easily available to
22   hackers on the Dark Web. Plaintiffs and the Class have also suffered consequential out
23   of pocket losses for procuring credit freeze or protection services, identity theft
24   monitoring, late fees, bank fees, and other expenses relating to identity theft losses or
25   protective measures. The Class members are further damaged as their PII remains in the
26
     hands of those who obtained it without their consent.
27
28

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 1           250. This breach of implied contracts was a direct and legal cause of the injuries
 2   and damages to Plaintiffs and Class members as described above.
 3                                   Sixth Claim for Relief
                                     Declaratory Judgment
 4
             251. Plaintiffs repeat, reallege, and incorporate by reference the allegations
 5
     contained in paragraphs 1 through 130 as though fully stated herein.
 6
             252. As previously alleged, Plaintiffs and Class members entered into an implied
 7
 8   contract that required Forever 21 to provide adequate security for the PII and PCD it

 9   collected from their payment card transactions. As previously alleged, Forever 21 owes
10   duties of care to Plaintiffs and Class members that require it to adequately secure PII and
11   PCD.
12           253. Forever 21 still possesses PII and PCD pertaining to Plaintiffs and Class
13   members. While the payment card account information may no longer be valid, because
14   the bank has re-issued the card in the wake of the Data Breach, the PII remains valid as
15   does the association and link between a person’s personal identifying information and an
16   account number once belonging to him or her.
17           254. Forever 21 has made no announcement or notification that it has remedied
18   the vulnerabilities in its computer data systems, and, most importantly, its POS systems.
19
             255. Accordingly, Forever 21 has not satisfied its contractual obligations and
20
     legal duties to Plaintiffs and Class members. In fact, now that Forever 21’s lax approach
21
     towards data security has become public, the Customer Data in its possession is more
22
     vulnerable than previously.
23
             256. Actual harm has arisen in the wake of the Data Breach regarding Forever
24
     21’s contractual obligations and duties of care to provide data security measures to
25
     Plaintiffs and Class members.
26
27           257. Plaintiffs, therefore, seek a declaration that (a) Forever 21’s existing data

28   security measures do not comply with its contractual obligations and duties of care, and

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 1   (b) in order to comply with its contractual obligations and duties of care, Forever 21 must
 2   implement and maintain reasonable security measures, including, but not limited to:
 3                   a.    engaging third-party security auditors/penetration testers as well as
 4                         internal security personnel to conduct testing, including simulated
 5                         attacks, penetration tests, and audits on Forever 21’s systems on a
 6
                           periodic basis, and ordering Forever 21 to promptly correct any
 7
                           problems or issues detected by such third-party security auditors;
 8
                     b.    engaging third-party security auditors and internal personnel to run
 9
                           automated security monitoring;
10
                     c.    auditing, testing, and training its security personnel regarding any new
11
                           or modified procedures;
12
                     d.    segmenting customer data by, among other things, creating firewalls
13
14                         and access controls so that if one area of Forever 21 is compromised,

15                         hackers cannot gain access to other portions of Forever 21 systems;

16                   e.    purging, deleting, and destroying in a reasonable secure manner
17                         Customer Data not necessary for its provisions of services;
18                   f.    conducting regular database scanning and securing checks;
19                   g.    routinely and continually conducting internal training and education to
20                         inform internal security personnel how to identify and contain a breach
21                         when it occurs and what to do in response to a breach; and
22                   h.    educating its customers about the threats they face as a result of the loss
23                         of their financial and personal information to third parties, as well as
24                         the steps Forever 21 customers must take to protect themselves.
25
26
27
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 1                                  Seventh Claim for Relief
             Violation of California’s Customer Records Act – Inadequate Security
 2                   (Cal. Civ. Code § 1798.81.5) for the California subclass
 3           258. Plaintiff Jowharah Hameed-Bolden repeats, realleges, and incorporates by
 4   reference the allegations contained in paragraphs 1 through 130 as though fully stated
 5   herein.
 6
             259. Plaintiff Hameed-Bolden brings this claim on behalf of herself and a
 7
     California state subclass.
 8
             260. California Civil Code section 1798.80, et seq., known as the “Customer
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     Records Act” (“CRA”) was enacted to “encourage business that own, license, or maintain
10
     personal information about Californians to provide reasonable security for that
11
     information.” Cal. Civ. Code § 1798.81.5(a)(1).
12
             261. Section 1798.81.5, subdivision (b) of the CRA requires any business that
13
14   “owns, licenses, or maintains personal information about a California resident” to

15   “implement and maintain reasonable security procedures and practices appropriate to the
16   nature of the information,” and “to protect the personal information from unauthorized
17   access, destruction, use, modification, or disclosure.” Under the CRA, “personal
18   information” includes an individual’s first name or first initial in combination with a
19   social security number, driver’s license number, account number or credit or debit card
20   number and access code, medical information, or health insurance information. Cal. Civ.
21   Code § 1798.82(h).
22           262. Forever 21 is a business that maintains personal information about
23   California residents. As alleged in detail above, Defendants failed to “implement and
24   maintain reasonable security procedures and practices appropriate to the nature of the
25
     information,” and “to protect the personal information from unauthorized access,
26
     destruction, use, modification, or disclosure,” resulting in the Data Breach.
27
28

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 1           263. As the direct and legal result of Defendants’ violation of section 1798.81.5,
 2   Plaintiff Hameed-Bolden and the members of the California subclass were harmed
 3   because their Customer Data compromised, placing them at a greater risk of identity theft
 4   and their Customer Data disclosed to third parties without their consent. Plaintiff
 5   Hameed-Bolden and Class members also suffered diminution in value of their Customer
 6
     Data in that it is now easily available to hackers on the Dark Web. Plaintiff Hameed-
 7
     Bolden and the California subclass have also suffered consequential out of pocket losses
 8
     for procuring credit freeze or protection services, identity theft monitoring, and other
 9
     expenses relating to identity theft losses or protective measures. The California subclass
10
     members are further damaged as their Customer Data remains Defendants’ possession,
11
     without adequate protection, and is also in the hands of those who obtained it without
12
     their consent.
13
14           264. Plaintiff Hameed-Bolden and the California subclass seek all remedies

15   available under Cal. Civ. Code § 1798.84, including, but not limited to: (a) damages

16   suffered by Plaintiffs and the other class members as alleged above and equitable relief.
17           265. Defendants’ misconduct as alleged herein is fraud under Civil Code §
18   3294(c)(3) in that it was deceit or concealment of a material fact known to the Defendants
19   conducted with the intent on the part of Defendants of depriving Plaintiff Hameed-Bolden
20   and the Class of “legal rights or otherwise causing injury.” In addition, Defendants’
21   misconduct as alleged herein is malice or oppression under Civil Code § 3294(c)(1) and
22   (2) in that it was despicable conduct carried on by Defendants with a willful and
23   conscious disregard of the rights or safety of Plaintiff Hameed-Bolden and the California
24   subclass and despicable conduct that has subjected Plaintiff Hameed-Bolden and the
25   California subclass to cruel and unjust hardship in conscious disregard of their rights. As
26
     a result, Plaintiff Jowharah Hameed-Bolden and the California subclass are entitled to
27
     punitive damages against Defendants under Civil Code § 3294(a).
28

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 1
 2                                          JURY TRIAL DEMANDED
 3           Plaintiffs demand a trial by jury of all claims in this Class Action Complaint so
 4   triable.
 5                                           PRAYER FOR RELIEF
 6
             WHEREFORE, Plaintiffs, individually and on behalf of the other Class members,
 7
     respectfully requests that this Court enter an Order:
 8
                 a. Certifying the Class and the California subclass, and Plaintiffs and their
 9
                     Counsel to represent the Class and subclass;
10
                 b. Finding that Defendants’ conduct was negligent, deceptive, unfair, and
11
                     unlawful as alleged herein;
12
                 c. Enjoining Defendants from engaging in further negligent, deceptive, unfair,
13
14                   and unlawful business practices alleged herein;

15               d. Awarding         Plaintiffs   and   Class   members   actual,   compensatory,

16                   consequential and/or nominal damages;
17               e. Awarding Plaintiffs and Class members statutory damages and penalties, as
18                   allowed by law;
19               f. Requiring Defendants to provide appropriate credit monitoring services to
20                   Plaintiffs and the other class members;
21               g. Compelling Defendants to use appropriate cyber security methods and
22                   policies with respect to data collection, storage and protection and to
23                   disclose with specificity to Class members the type of Customer Data
24                   compromised
25               h. Awarding Plaintiffs and Class members pre-judgment and post-judgment
26
                     interest;
27
28

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 1               i. Awarding Plaintiffs and the Class members reasonable attorneys’ fees, costs
 2                   and expenses, and;
 3               j. Granting such other relief as the Court deems just and proper.
 4
 5
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